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                                 EXHIBIT 10
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 Preventing and Responding to Sexual Misconduct
 against Students in Chicago Public Schools

 Preliminary Report




 Margaret A. Hickey
 SCHIFF HARDIN LLP
 August 16, 2018
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    Executive Summary

    Chicago Public Schools’ (CPS’) mission is to “provide a high quality public education
    for every child, in every neighborhood, that prepares each for success in college,
    career and civic life.” While education is an end in itself, a high quality primary and
    secondary education is also a means for children to improve their financial secu-
    rity, employment prospects, and personal fulfillment. To satisfy its mission, CPS
    must also protect students. As stated repeatedly by CPS CEO Janice Jackson and
    the CPS employees we interviewed: student safety must always come first.

    To prepare this report, we evaluated CPS’ policies, procedures, and actual practices
    for preventing and responding to sexual misconduct against students. We re-
    viewed CPS’ historical practices to identify and address the causes of any deficien-
    cies to better protect Chicago’s children moving forward. While our evaluation is
    ongoing, we drafted this preliminary report to provide initial recommendations to
    CPS before the start of the 2018/2019 school year.

    Throughout this report, we identify systemic deficiencies in CPS’ efforts to prevent
    and respond to incidents of sexual misconduct. Our review showed systemic defi-
    ciencies in training, reporting, aggregating data, tracking trends, and comprehend-
    ing the extent of the sexual misconduct facing CPS children. These deficiencies oc-
    curred at all levels: in the schools, the networks, the Central Office, and the Chi-
    cago Board of Education (Board). CPS did not collect overall data to see trends in
    certain schools or across geographies or demographics. Thus, CPS failed to recog-
    nize the extent of the problem. It is no surprise then that many of the employees
    we interviewed expressed shock about the reported extent of sexual misconduct
    against CPS students. While there were policies and procedures about sexual mis-
    conduct on the books, employees were not consistently trained on them, and
    there were no mechanisms to ensure that they were being uniformly implemented
    or to evaluate their effectiveness.

    There are many causes for these inconsistencies. They include, among other
    things, administrative hurdles, gaps in leadership, and schools with more priorities
    than resources. First, as one of the largest school districts in the nation, CPS nec-
    essarily vests individual principals with significant discretion over their respective
    schools. For many issues, this practice provides significant benefits. But, for pre-
    venting sexual misconduct, it does not. CPS must have centralized policies and pro-
    cedures regarding sexual misconduct that are implemented district-wide.

    Second, the inconsistencies in implementing policies and procedures were also ex-
    acerbated by high turnover in leadership positions. Not only has CPS experienced
    several leadership turnovers recently—with one CEO indicted and another leaving
    amidst a cloud of allegations—but CPS also regularly has high turnover in other
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    leadership positions, such as network chiefs. This turnover makes it difficult to in-
    still and maintain productive policies and procedures, stable systems independent
    of any person, and cultures of compliance.

    Last, school employees are responsible for protecting students against a myriad of
    threats. That is another reason that CPS has not been effective in preventing and
    responding to sexual misconduct. To demonstrate this point, here is a by-no-
    means-exhaustive list of student-safety issues, aside from school-based sexual
    misconduct, that CPS employees must address every year:

    ► Community crime, including domestic violence, gang violence, gun violence,
      and homicides;

    ► The prevalence of illicit and prescription drugs in homes, communities, and
      schools;

    ► School violence, including threats to commit mass shootings;

    ► Abuse and neglect at home, including sexual misconduct;

    ► Suicidal ideation, attempts, and completions;

    ► Emergency medical situations, including chronic conditions;

    ► Accidents, including fires and car accidents; and

    ► Student homelessness.

    Many of these threats are both more prevalent and visible than sexual misconduct.
    For this reason, some employees and schools may have allocated more time and
    resources toward these dangers, which caused them to give insufficient attention
    to sexual misconduct.

    Nonetheless, CPS can do and is currently doing more to train employees and create
    a uniform, district-wide approach to respond properly to allegations of sexual mis-
    conduct. Before and after consulting with and receiving advice from Ms. Hickey,
    CPS took immediate action to better prevent and respond to sexual misconduct
    against students. Some of the most significant steps CPS and the Board have taken
    include the following:

    ► Altering the reporting and investigations structure so that allegations of adult-
      on-student sexual misconduct will be investigated by the CPS Inspector Gen-
      eral’s office, rather than the CPS Law Department;

    ► Requesting that the CPS Inspector General review all sexual-misconduct cases
      since at least 2000;


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    ► Creating the new CPS Office of Student Protections and Title IX, which among
      other responsibilities, will investigate allegations of student-on-student sexual
      misconduct, ensure that victims of sexual misconduct receive support services,
      and collect and report data regarding sexual misconduct in CPS;

    ► Updating CPS’ policies for reporting child abuse and neglect;

    ► Running new background checks on all CPS employees, vendors, and volun-
      teers, and requiring periodic background checks moving forward;

    ► Establishing a new, centralized system to check references and employment
      histories before hiring new employees, which includes requiring the CPS Cen-
      tral Office to clear all athletic coaches before they start;

    ► Working to streamline notification procedures with the Illinois State Board of
      Education;

    ► Creating an internal task force whose members report directly to the CEO and
      oversee all issues regarding sexual misconduct;

    ► Partnering with Chicago Children’s Advocacy Center to train administrators and
      employees on mandated reporting and how to recognize signs of abuse; and

    ► Hiring an independent law firm to give an honest, unbiased assessment of CPS’
      policies, procedures, and practices, and following our recommendations.

    Throughout our evaluation, we found that senior leadership, department heads,
    principals, and other CPS employees demonstrated genuine concern for student
    safety and a sincere willingness to embrace necessary changes. In fact, many of
    the CPS employees we interviewed have children who are CPS students or gradu-
    ates, and they are grateful for the attention, focus, and public resources CPS is now
    directing toward the important issue of student safety regarding sexual miscon-
    duct.

    We must stress this fact: nearly all CPS employees care deeply about the health
    and wellbeing of their students. However, one employee who fails to protect a
    student will always get more attention than the hundreds of employees who rou-
    tinely help students succeed. For students and the City of Chicago, CPS must con-
    tinue to encourage their employees, vendors, and volunteers to protect, teach,
    and advocate for CPS students.

    Good intentions are not good enough when it comes to protecting children against
    sexual misconduct. CPS must of course stop bad actors—and there will always be
    bad actors—because one student victim is too many. But to stop bad actors, CPS




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    must motivate and train its good actors to do better. CPS must teach its employ-
    ees, vendors, and volunteers the rules, methods, and underlying justifications for
    preventing, identifying, and responding to sexual misconduct. And CPS must hold
    people accountable when they have been sufficiently supported yet still fail to
    know and follow these policies.

    We have included throughout this preliminary report both specific and general
    recommendations for how CPS can improve its policies, procedures, and practices
    to prevent and respond to sexual misconduct involving students. When consider-
    ing these recommendations, CPS should keep in mind that doing more is not al-
    ways doing better. CPS must ensure that new policies and procedures to protect
    students from sexual misconduct do not inadvertently undermine its efforts to de-
    velop a nurturing culture in which students learn and grow or develop a culture in
    which students and adults fear unwarranted punishment.

    This preliminary report contains the following key recommendations:

    ► Title IX Office (Office of Student Protections and Title IX). We have devoted a
      separate section of this preliminary report to discussing this new office, includ-
      ing suggesting best practices, discussing examples from other districts and
      post-secondary institutions, and providing specific guidance and recommen-
      dations.

    ► Increased Security

       ● Background Checks. We recommend that CPS continue to streamline back-
         ground checks for adults who have frequent or one-on-one student con-
         tact. Until CPS develops a reliable method of receiving up-to-date infor-
         mation regarding new contacts with law enforcement, we recommend that
         CPS refresh all background checks on an ongoing, staggered basis.

       ● Reference Checks. Currently, CPS does not always perform reference
         checks before hiring a new teacher or other school-based employee. We
         recommend that CPS require reference checks with previous employers
         that include a question about potential allegations or adjudications regard-
         ing sexual misconduct. Furthermore, to the extent possible, CPS should en-
         ter into agreements with other districts to share information to prevent
         predators from regaining access to students.

       ● Photo Identification (ID). Currently, some schools require that adults wear
         IDs in schools, but others do not. We recommend that CPS adopt a district-
         wide requirement that all adults, including principals, employees, vendors,
         volunteers, and visitors, display an ID at all times while in a school to pre-
         vent unauthorized access.



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       ● Age Restriction for Volunteers. A repeated source of concern has been re-
         cent secondary school graduates serving as coaches or volunteers at their
         alma mater. Given the difficulty of setting and maintaining boundaries
         among recent graduates, CPS should consider additional requirements for
         young volunteers, which may include setting an age-restriction for volun-
         teers that have direct student contact.

       ● Clarification on Removing Employees Pending Investigations. CPS re-
         cently amended its policy to require the immediate removal from school
         of an employee who has been accused of sexual misconduct involving a
         student. Removing an employee is financially and emotionally costly, not
         just for the accused, but for students, schools, and the public. Removal is
         an important step, but the current policy is vague and needs clarification
         regarding when CPS will and will not remove an employee.

    ► Streamlining Policies and Procedures

       ● Uniform Employee, Student, Parent, and Guardian Handbooks. On July
         27, 2018, CPS sent out district-wide a template for an employee handbook,
         which principals can supplement with school-specific information. CPS
         should continue to update this employee handbook with all relevant poli-
         cies and procedures regarding sexual misconduct and the maintaining of
         appropriate boundaries between adults and students. CPS should also cre-
         ate a district-wide handbook for students, parents, and guardians or sup-
         plement existing district-wide materials, such as the Student Code of Con-
         duct. In our opinion, this step is necessary to ensure that everyone has a
         consistent understanding of CPS policies and procedures and applies them
         consistently.

       ● Policies and Procedures. CPS should place all relevant sexual-misconduct
         policies and procedures in one easily searchable and regularly updated lo-
         cation. Although these policies may be partially consolidated in the district-
         wide employee handbook, many administrators whom we interviewed ex-
         perienced difficulty locating current CPS policies and procedures. We rec-
         ommend that CPS take steps through its already existing online resources
         to ensure that principals are better able to access policies and procedures
         in one central location.

    ► Creating Accountability for Knowing Policies and Procedures

       ● Training for CPS Employees and Volunteers. Currently, CPS does not ade-
         quately train its constituents regarding appropriate boundaries, the pre-
         vention of sexual misconduct or the response to such allegations. For ex-
         ample, in 2017, CPS created the “Guidelines Regarding Maintaining Profes-
         sional Staff/Student Boundaries.” The vast majority of administrators we


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           interviewed had never seen or heard of these guidelines. We recommend
           that CPS employees, vendors, and volunteers receive an annual online in-
           teractive training that addresses both the Illinois Department of Children
           and Family Services mandatory reporting rules and CPS policies and proce-
           dures regarding boundaries and sexual misconduct. Employees and volun-
           teers should also certify that they received these trainings as a pre-condi-
           tion of their employment and access to schools. Similarly, CPS should re-
           quire principals to keep track of certifications for every employee, vendor,
           and volunteer in their building, and principals should be held accountable
           for doing so by their supervisors.

        ● Response and Notification Checklist. We recommend that CPS develop
          and distribute a simple checklist to principals and other employees that
          lists the steps they should take when they learn of potential sexual miscon-
          duct by adults or students. Currently, principals do not immediately recall
          the proper response and notification process and reported that they would
          likely have to call a superior in the event of an incident. Combined with
          training, a response and notification checklist will help to ensure that em-
          ployees apply policies and procedures promptly and consistently.

        ● Training for CPS Students, Parents, and Guardians. We recommend that
          CPS also instruct students, parents, and guardians on appropriate bounda-
          ries between adults and students. For various reasons, victims may not al-
          ways come forward, and predators may take steps to prevent detection
          from other adults. For these reasons, CPS should ensure that all members
          of the CPS community know how to identify and report sexual misconduct.
          We have provided some general ideas for implementing that instruction,
          including revising the already mandated Sexual Health Education curricu-
          lum to directly address that issue and providing information in student,
          parent, and guardian handbooks.

     ► Creating Accountability for Implementing Policies and Procedures

        ● Accountability, Generally. As is the case with any large organization, CPS
          finds it difficult to ensure uniform understanding and compliance through-
          out the system. Increased accountability is paramount to ensure that CPS
          effectively writes, teaches, and implements policies and procedures. We
          have noted throughout the report proposals to increase accountability.

        ● Data Analytics. CPS should compile and review data regarding actual and
          potential sexual misconduct. It is possible that once CPS has improved its
          policies, procedures, actual practices, and culture, complaints of sexual
          misconduct will increase. We recommend that CPS take steps to ensure
          that it stores and analyzes its data to better prevent and respond to future



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            incidents. We further recommend that CPS regularly share this data with
            the necessary stakeholders, including the Board.

        ● Increased Transparency. CPS has recently made many changes and im-
          provements to its policies, procedures, and practices. While confidentiality
          is necessary to protect the rights of specific victims and the accused, CPS’
          policies and procedures should be transparent. The public should know
          how CPS and other stakeholders are keeping children safe, and what re-
          sources are available when needed.

     CPS must gear its policies and procedures regarding sexual misconduct toward cre-
     ating an equal outcome across schools: safe children. But CPS alone cannot resolve
     society’s problems regarding sexual misconduct. Different schools and communi-
     ties face different threats, and the practices that work best at one school may not
     work at another. CPS recognizes the need for school autonomy and flexibility, but
     left too much discretion with principals regarding sexual misconduct against stu-
     dents. Going forward, CPS must have a centralized approach to preventing and
     responding to sexual misconduct that provides all schools with a baseline while
     still giving administrators freedom to deviate from that baseline when warranted
     and approved.

     Policies and procedures that work today may not work tomorrow. While many
     types of sexual misconduct are clear cut, many norms continue to evolve, with
     some conduct tolerated today that was not tolerated in the past and vice versa.
     Technological advances also pose new challenges, and sexual predators will con-
     tinue to develop innovative techniques to accomplish their goals. SnapChat, for
     example, has only been around for less than seven years. For all these reasons,
     CPS must remain diligent and stay ahead of the curve by continuously listening to
     stakeholders and adjusting its policies and procedures to deter inappropriate be-
     havior while also encouraging—or at least not discouraging—positive interactions
     and relationships between students and adults.

     The recommendations in this Executive Summary are not exhaustive, and we pro-
     vide more detail regarding these recommendations—and more specific recom-
     mendations—throughout this report. We expect our final report to contain addi-
     tional findings and recommendations based on our further evaluation and the con-
     structive feedback we expect to receive in response to this preliminary report.




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HICKEY’S KEY RECOMMENDATIONS TO CPS                                   ● Age-appropriate education regarding sexual miscon-
                                                                          duct and appropriate boundaries across all grade lev-
Implementing Title IX                                                     els; and
→ Create and fully staff a Title IX Office.                           ● Training sessions for parents and guardians.
→ Designate at least one trained contact in each school.          →   Create accountability for trainings by requiring proof of at-
→ Create a comprehensive plan to prevent and respond to               tendance and comprehension and by tying this proof to
    sexual misconduct against students in compliance with Ti-         evaluations.
    tle IX and best practices.                                    →   Use experts to train CPS employees.
Prevention                                                        Reporting
→ Streamline background checks for employees, vendors,            → Provide clear avenues for mandatory, optional, and anon-
    and volunteers.                                                   ymous reporting of sexual misconduct.
→ Refresh background checks on an ongoing, staggered basis        →   Clarify what type of conduct triggers mandatory reporting
    until CPS develops a reliable method of receiving up-to-          requirements, particularly conduct that may be catego-
    date information regarding new arrests and convictions.           rized as “grooming.”
→   Require reference checks with previous employers that in-     →   Implement a system to report and track allegations and in-
    clude a mandatory question about allegations and adjudi-          cidents.
    cations regarding sexual misconduct.                          →   Log and analyze data, identify trends, and regularly share
→   Create agreements with other districts and entities to            data with stakeholders.
    share information, to the extent possible, to prevent pred-   →   Create a culture of reporting through transparency, due
    ators from regaining access to students.                          process, and clear understandings of rights, responsibili-
→   Consider an age restriction and additional screening or           ties, and expectations, including prohibiting retaliation for
    oversight requirements for specific types of volunteers.          raising a concern or reporting an incident.
→   Require all adults to display photo-IDs while in schools.     →   Train CPS employees on “information gathering” to ad-
Policies and Procedures                                               dress school issues and on filing effective reports without
→ Comply with Erin’s Law: create and implement clear poli-            unnecessarily interrupting schools, re-traumatizing vic-
    cies and procedures, including rules and standards for ap-        tims, or jeopardizing future DCFS, CPS Inspector General,
    propriate boundaries between adults and students.                 criminal, or Title IX Office investigations.
→   Maintain current policies, procedures, and guidelines in      →   Provide administrators a straight-forward notification and
    one, easily searchable source.                                    reporting checklist with key contact information.
→   Ensure that policies and procedures regarding sexual mis-     Investigations
    conduct against students are available to everyone, includ-   → Ensure trained and impartial experts conduct investiga-
    ing students, parents, and guardians.                             tions, interviews, and interrogations.
→   Convert policies and procedures into easy-to-read student     →   Train administrators to handle and preserve evidence.
    materials that highlight the most important takeaways.        →   Coordinate with all investigatory entities to make investi-
→   Monitor compliance to address weaknesses and new and              gations more efficient and minimize victim interviews
    unique challenges across schools and grade levels.            →   Include a children’s advocate at victim interviews.
→   Create or update uniform employee, student, parent, and       →   Clarify standards for when to remove employees from the
    guardian handbooks, which contain all relevant policies           school pending an investigation.
    and procedures regarding sexual misconduct involving stu-     Response
    dents and appropriate boundaries.
                                                                  → Hold employees, vendors, and volunteers accountable
Training                                                              when they violate the policies and procedures with disci-
→ Train and frequently remind CPS employees, vendors, and             pline that is commensurate with the violation.
    volunteers how to prevent, identify, report, and respond      →   Ensure CPS students have, are aware of, and receive social
    to sexual misconduct—and that they are responsible for            and emotional supports and victim services.
    doing so. This training should include the following:
                                                                  →   Ensure that schools sufficiently emphasize these supports
    ● Annual webinars for all adults who participate in               across all regions and demographics, as warranted.
         school programs and events;
                                                                  →   Use experts, such as the Chicago Children’s Advocacy Cen-
    ● Annual DCFS Mandatory Reporting Training;                       ter, to train employees on how to provide appropriate sup-
    ● A notification checklist for the entire CPS community;          port for student victims and student perpetrators.
    ● Annual, district-wide training sessions during student      →   Develop a district-wide protocol for appropriately com-
         and employee orientation.                                    municating sexual-misconduct incidents and allegations.


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     Background

     Scope of the Evaluation

     In June 2018, the Chicago Tribune released a series of articles titled Betrayed.1 The
     series drew attention to, among other things, a shocking number of incidents of
     sexual misconduct against CPS students throughout the city. The Chicago Tribune
     reported that, between 2008 and 2017, the Chicago Police Department had con-
     ducted 523 investigations that involved sexual assault or abuse of children within
     Chicago schools by fellow students or adults. To learn more about these cases, the
     Chicago Tribune “reviewed criminal charges and prosecutions, civil lawsuits filed
     by victims, CPS investigative reports and disciplinary actions, and state licensure
     hearings” and “spoke to 18 students or former students who reported being sex-
     ually abused by school employees.” The Chicago Tribune focused on 108 of the
     cases and identified 72 alleged perpetrators who were former CPS employees.

     The articles concluded that CPS had many systemic failures that led to the sexual
     victimization of CPS students by adults, including the following:

     ► Ineffective background checks;

     ► A lack of communication between CPS and other school districts regarding em-
       ployees who resigned after allegations of sexual misconduct against students;

     ► Victims becoming re-traumatized through repeated questioning by insuffi-
       ciently trained CPS employees;

     ► A conflict of interest within the CPS Law Department, which both investigated
       allegations of sexual misconduct and defended CPS and CPS employees in sub-
       sequent lawsuits;

     ► Failure to prioritize victims and their families; and

     ► Failure to effectively track child abuse by CPS employees and volunteers.

     CPS leadership, community leaders, elected officials, and others responded to the
     Chicago Tribune series and immediately began calling for an evaluation of CPS’
     policies and procedures to help keep its students safe.




     1
         See David Jackson, Jennifer Smith Richards, Gary Marx, and Juan Perez Jr., Betrayed: Chicago
         schools fail to protect students from sexual abuse and assault, leaving last damage (June 1,
         2018), available at http://graphics.chicagotribune.com/chicago-public-schools-sexual-abuse/
         (last visited August 14, 2018).


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     Just before the Chicago Tribune published the Betrayed series, the Chicago Board
     of Education (Board) retained Maggie Hickey, a partner at Schiff Hardin LLP. The
     Board asked Ms. Hickey to conduct an independent, comprehensive evaluation of
     CPS’ policies and procedures for preventing and responding to sexual misconduct
     by adults against students under CPS’ care. During the evaluation, the Board ex-
     panded the scope and asked Ms. Hickey to also evaluate CPS’ policies and proce-
     dures for preventing and responding to sexual misconduct among students.

     Maggie Hickey leads the Schiff Hardin team. Ms. Hickey joined Schiff Hardin in April
     2018 as partner and practice group leader for the White Collar Defense and Gov-
     ernment Investigations Group. Before she joined Schiff Hardin, Ms. Hickey had a
     distinguished career in public service, most recently as the Illinois Executive In-
     spector General for the Agencies of the Illinois Governor and, earlier in her career,
     as an Assistant U.S. Attorney and the Executive Assistant United States Attorney
     for the Northern District of Illinois. The Schiff Hardin team also includes two other
     Schiff Hardin partners, Paula Ketcham and William Ziegelmueller, both of whom
     have extensive experience in internal reviews. The team also includes Schiff Hardin
     associates, primarily Caitlin Ajax, Meredith R.W. DeCarlo, Michael Molzberger, An-
     thony-Ray Sepúlveda, and Brooke Clason Smith.

     Less than a month after the Chicago Tribune published the Betrayed series, the
     Board directed the Office of the Inspector General for the Board (CPS Inspector
     General’s Office) to review “sexual misconduct cases dating back to at least the
     year 2000, and further if determined necessary by the Inspector General or the
     Board President.”2 At CPS Inspector General Nicholas Schuler’s request, the Board
     also transferred the responsibility for investigating all future allegations of sexual
     misconduct against CPS students by employees, vendors, and volunteers to the
     CPS Inspector General.3

     Our evaluation and this preliminary report differ in scope from the CPS Inspector
     General Office’s review of past incidents. The Board did not task Ms. Hickey with
     determining “who knew what and when.” As a result, rather than duplicating the
     CPS Inspector General’s ongoing work reviewing past incidents, we focused on im-
     proving policies, procedures, and practices to protect students moving forward.
     Although we examined specific incidents of sexual misconduct, our review of those
     incidents was limited to identifying systemic deficiencies that led to the incidents
     and that can inform our recommendations for systemic change.

     Given the immediate need to address CPS’ issues, Ms. Hickey has made recom-
     mendations throughout the course of our work, and she will continue to make


     2
         See Chicago Board of Education Resolution 18-0627-RS4, available at http://www.cpsboe.org
         /content/actions/2018_06/18-0627-RS4.pdf (last visited August 14, 2018).
     3
         Id.


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     recommendations, as warranted, as the evaluation continues. CPS has taken initi-
     ative and not waited for this preliminary report—or, in some instances, Ms.
     Hickey’s recommendations—to act because students return for the next school
     year on September 4, 2018.4

     For example, within two weeks after Ms. Hickey started this evaluation, she iden-
     tified that sexual misconduct between students was also a significant issue for CPS
     and recommended that CPS create a Title IX Office. In response, CPS expanded the
     scope of our evaluation to include policies and procedures regarding sexual mis-
     conduct between students. On June 27, 2018, CPS announced that it was creating
     the Office of Student Protections and Title IX (OSP) with an anticipated annual
     budget of $3 million. CPS intends the OSP to address, among other things, allega-
     tions of sexual misconduct between students.5

     There is another important point regarding our independence: Although the Board
     retained Schiff Hardin for this evaluation, we have functioned independently of
     CPS and the Board. The findings and recommendations in this report are exclu-
     sively our own. Further, we have identified many issues in the report that are out-
     side of CPS’ control. Some problems are endemic to society and require societal
     changes. Others require legislative action at the federal, state, or local levels. Still
     others require actions or contributions by other school districts or government
     agencies. As a result, we seek feedback from all stakeholders about this prelimi-
     nary report and CPS’ efforts.

     Finally, it is important to note that this preliminary report is in fact preliminary. Our
     evaluation remains ongoing, and we will issue a final report once the evaluation is
     complete. In addition to incorporating constructive feedback from CPS and other
     stakeholders, additional witness interviews and analysis will shape our final report.
     CPS is also in the process of changing many policies and procedures and working
     with various stakeholders, such as the CPS Inspector General, to construct future
     reporting and investigative practices. Because many of these changes remain on-
     going, our analysis of these changes must wait. At the end of this preliminary re-
     port, we provide a non-exhaustive list of the remaining steps for our evaluation.




     4
         School clerks return to schools on August 22, 2018, and teachers return on August 27, 2018.
     5
         About a month later, on July 26, 2018, the Chicago Tribune released a new set of articles in the
         Betrayed series that focused on sexual misconduct between CPS students. See David Jackson,
         Jennifer Smith Richards, Gary Marx, and Juan Perez Jr., Abused by Students, Failed by Adults,
         available at http://graphics.chicagotribune.com/chicago-public-schools-sexual-abuse/student-
         offenders/.


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     Summary of the Evaluation

     We received the full cooperation of the Board and CPS during this evaluation. CPS
     provided us with access to thousands of documents, including policies and proce-
     dures and records regarding past investigations. Ms. Hickey consulted with CPS on
     an ongoing basis. She also gave presentations at each of the seven days of CPS’
     2018 Legal Conference, reaching over 1,100 attendees, including Central Office
     employees, network chiefs, principals, and assistant principals. At the Legal Con-
     ference, Ms. Hickey highlighted the importance of CPS policies and procedures to
     prevent, identify, and report sexual misconduct and the importance of creating a
     school culture in which sexual misconduct and inappropriate relationships are not
     tolerated.

     We also interviewed senior CPS leadership, including CPS CEO Janice Jackson and
     Board President Frank Clark, all 13 CPS network chiefs, and nearly 70 school ad-
     ministrators, including 48 principals and 21 assistant principals, representing 40
     primary schools and 29 secondary schools.6 We also interviewed other CPS em-
     ployees as to their experience regarding background checks, software and report-
     ing systems, investigations, and training programs.

     In total, we interviewed more than 80 people and reviewed thousands of pages of
     documents. In addition, we researched and evaluated best practices and the poli-
     cies, procedures, and practices of other primary schools, secondary schools, and
     colleges throughout the country.

     Unfortunately, given the condensed timeframe for this evaluation, we were unable
     to reach everyone on our list or spend as much time as we would have liked with
     many whom we did contact.7 Fortunately, many of the employees we interviewed
     had decades of experience at CPS and many different teaching and administrative
     positions throughout their careers.

     Our evaluation remains ongoing. While Ms. Hickey has met with CPS Inspector
     General Nicholas Schuler and representatives from the Chicago Police Department
     and the Chicago Children’s Advocacy Center, more communication is necessary.
     We also intend to speak with, among others, additional CPS teachers, athletics di-
     rectors, and representatives from the Cook County State’s Attorney’s Office, the




     6
         We selected school administrators based on a combination of random selection, recommenda-
         tions by CPS network chiefs, and deliberate choice to ensure that we spoke to leaders of pri-
         mary and secondary schools that represented the broad economic, social, ethnic, and geo-
         graphic diversity of Chicago schools and the children they serve.
     7
         For example, Ms. Hickey reached out to Chicago Teachers’ Union Vice President Jesse Sharkey
         via telephone, text, and email, but he has yet to respond.


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     Illinois Department of Children and Family Services, the Chicago Police Depart-
     ment, the Illinois State Board of Education, the Illinois State Police, and various CPS
     partners.


     Sexual Misconduct against Primary and Secondary School Students


              Definitions

     Definitions and terms used to describe inappropriate sexual behavior vary across
     regions, communities, and laws. And different types of inappropriate sexual be-
     havior require different approaches to prevent, identify, and stop. When relevant,
     this report refers to specific terms and definitions.

     In general, however, this report uses the term “sexual misconduct” to refer to all
     types of inappropriate sexual behavior, including sex crimes—such as sexual har-
     assment, abuse, and assault—and violations of policies—such as consensual sex-
     ual contact between a teacher and an adult student. “Sexual misconduct” also in-
     cludes behavior that could be innocuous if not for an adult’s perverse intent to
     create a sexual relationship with a student. Predators use “grooming,” for example,
     to lower boundaries and create opportunities to engage in and normalize sexual
     contact. As described further in the sections below, grooming includes conduct
     ranging from sending sexually explicit text messages to using seemingly innocent
     nicknames.


              Primary and Secondary Schools Nationwide

     A child victim of sexual misconduct can suffer a tremendous amount of harm.8
     Victims can suffer serious psychological, physical, academic, and behavioral con-
     sequences that last a lifetime.9 Long-term symptoms can include “symptoms such
     as chronic headaches, fatigue, sleep disturbance, recurrent nausea, decreased ap-




     8
         Although a concern in all workplaces, this report does not address sexual misconduct against
         adults.
     9
         See, e.g., Magnolia Consulting, LLC, A Case Study of K–12 School Employee Sexual Misconduct:
         Lessons Learned from Title IX Policy Implementation (September 15, 2017), 2, available at
         https://magnoliaconsulting.org/wp-content/uploads/2017/11/Full-Report-Department-of-
         Justice-School-Employee-Sexual-Misconduct-Case-Study.pdf.


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     petite, eating disorders, sexual dysfunction, suicide attempts, fear, anxiety, depres-
     sion, anger, hostility, and poor self-esteem.”10 Victims are also more likely to suffer
     from substance abuse11 and to be sexually abused as an adult.12

     Given the harm caused by sexual misconduct against students, one student victim
     is too many. The cost of what could have prevented the harm will always appear
     to be less than the harm of the offense, and for most cases of sexual misconduct,
     the question is frequently at what stage a policy or procedure could have pre-
     vented the crime from occurring.

     To put CPS’ systemic deficiencies in perspective, it is important to understand the
     nationwide problem of sexual misconduct against students. While accurate statis-
     tics on sexual misconduct are difficult to gather, available figures are high. Between
     2009 and 2013, national child-protective-services agencies substantiated or found
     strong evidence to believe that there were over 60,000 children a year who were
     victims of “sexual abuse.”13

     In September 15, 2017, the National Institute of Justice, the Office of Justice Pro-
     grams, and the U.S. Department of Justice hired Magnolia Consulting to study sex-
     ual misconduct against primary and secondary school students by adults: “A Case
     Study of K–12 School Employee Sexual Misconduct.” Magnolia Consulting made
     several key findings that are particularly relevant to this report:

     ► Victims.14 While there is no national database tracking reported incidents of
       school employee sexual misconduct, research suggests that an estimated 1 in
       10 students will experience school employee sexual misconduct by the time
       they graduate from secondary school. Victims of school employee sexual mis-




     10
          Id.
     11
          See id.
     12
          See, e.g., Katie A Ports, Derek C Ford, and Melissa T. Merrick, Adverse childhood experiences
          and sexual victimization in adulthood. Child Abuse & Neglect (January 2016), 51, 313-322, avail-
          able at http://doi.org/10.1016/j.chiabu.2015.08.017.
     13
          Rape, Abuse & Incest National Network (RAINN), Children and Teens: Statistics, https://www
          .rainn.org/statistics/children-and-teens (citing U.S. Department of Health and Human Services,
          Administration for Children and Families, and Administration on Children, Youth and Families,
          Children’s Bureau, Child Maltreatment 2014, available at https://www.acf.hhs.gov/sites/
          default/files/cb/cm2014.pdf). For the purposes of the “over 60,000” a year figure, “sexual
          abuse” is defined as a “A type of maltreatment that refers to the involvement of the child in
          sexual activity to provide sexual gratification or financial benefit to the perpetrator, including
          contacts for sexual purposes, molestation, statutory rape, prostitution, pornography, exposure,
          incest, or other sexually exploitative activities.” Id.
     14
          As described further in this report, CPS does not have reliable data regarding victim de-
          mographics, but the limited available data follows national trends.


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          conduct cross all demographics, but most student victims are low income, fe-
          male, and in secondary school. Students with disabilities are also more likely
          to be victims of sexual misconduct.15

     ► Offenders. Offenders are typically male, popular in their school, and often rec-
       ognized for “excellence.” While offenders work in various positions, employees
       who spend individual time with students—such as specialty teachers, coaches,
       and counselors—are more likely to engage in sexual misconduct. Otherwise,
       offenders can span all ages, ethnicities, and income levels. On average, teacher
       offenders move through three different districts before being stopped and can
       have as many as 73 victims.16

     ► Schools. Only 18 states currently require school districts to provide sexual mis-
       conduct awareness and prevention training to school employees.17 While
       many schools have adopted formal policies regarding sexual misconduct,
       school employees remain largely “unaware of what school employee sexual
       misconduct is, what the warning signs are, and how and to whom to report it.”
       And although the vast majority of states have mandatory reporting laws that
       require school employees to report suspected child abuse, many “school em-
       ployees are apprehensive about reporting school employee sexual misconduct
       to authorities for a variety of reasons, including the potential stigma and loss
       of reputation for the school or district, as well as fear of legal repercussions
       and liability for monetary damages.” For these reasons, only about 5% of sex-
       ual misconduct by school employees is properly reported.18 The result is that
       many unreported cases are handled informally, disregarding law and policy. If
       a sexual predator is not convicted and does not have a clear disciplinary record
       that is shared with a new prospective employer, that person can “quietly leave
       the district, potentially to seek work elsewhere.” Even when incidents of sexual

     15
          Members of the Lesbian, Gay, Bisexual, and Transgender (LGBT+) community may also be vic-
          timized at disproportionate rates. See e.g., S. Bryn Austin et. al., Disparities in Child Abuse Victim
          in Lesbian, Bisexual, and Heterosexual Women in the Nurses’ Health Study II (J Womens Health.
          May 2008), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3912575/, and Cen-
          ters for Disease Control and Prevention, NISVS: An Overview of 2010 Findings on Victimization
          by Sexual Orientation (2010), available at https://www.cdc.gov/violenceprevention/pdf/cdc
          _nisvs_victimization_final-a.pdf.
     16
          See also, U.S. Government Accountability Office, K-12 education: Selected cases of public and
          private schools that hired or retained individuals with histories of sexual misconduct. Report to
          the Chairman, Committee on Education and Labor, House of Representatives (December 2010),
          available at http://www.gao.gov/assets/320/313251.pdf.
     17
          See also, U.S. Government Accountability Office, Child Welfare: Federal Agencies can Better
          Support State Efforts to Prevent and Respond to Sexual Abuse by School Personnel (January
          2014), available at https://www.gao.gov/assets/670/660375.pdf.
     18
          Magnolia Consulting also provided an example from a 1994 study in New York State, which
          found that “only 1% of the 225 cases superintendents disclosed to researchers were reported
          to law enforcement or child welfare and resulted in license revocation.” Magnolia Consulting,
          A Case Study of K–12 School Employee Sexual Misconduct, 5.


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          misconduct are properly reported, investigations are often botched by school
          administrators, including through improper collection and preservation of evi-
          dence, prematurely tipping off an offender, and improper witness and victim
          interviews.

     These studies suggest that most schools in the nation need to do better and have
     not done so. If CPS remains diligent and uses this opportunity to implement key
     recommendations and best practices, CPS could become a national leader in pro-
     tecting students from sexual misconduct.


     Chicago Public Schools

     CPS is the nation’s third largest school district, with over 370,000 students across
     644 schools, including 513 district-run schools, 121 charter schools, nine contract
     schools, and one SAFE school, which is for students who have been expelled from
     other schools due to violence.19 Most district schools are either primary schools—
     from pre-kindergarten or kindergarten through eighth grade—or secondary
     schools—from ninth grade through twelfth grade. About 70% of CPS students at-
     tend primary schools.

     Throughout the calendar year, non-students can be in schools for a wide variety of
     reasons. CPS has over 36,000 permanent employees, including administrators,
     teachers, counselors, administrative assistants, security officers, janitors, and
     many others needed to run hundreds of buildings throughout Chicago. Many of
     these employees belong to unions with their own bargaining agreements, includ-
     ing the Chicago Teachers Union and Service Employees International Union. Other
     employees serve part-time and come and go from schools, including substitute
     teachers and members of the Local School Council.

     There are also various instances when parents or guardians enter schools. In addi-
     tion to hosting parents for teacher conferences, disciplinary meetings, student
     events, and early dismissals, at least 13 schools also house a CPS Parent University,
     which provides classes for adults in the community. CPS also accepts adult visitors
     for various other reasons.

     CPS has over 4,000 active vendors. Some, like custodial employees from Aramark
     Corporation, work permanently in a single school, while many others, like food
     delivery vendors, enter many different buildings. CPS also has many volunteers,
     including parents, guardians, and students from other schools. Some district
     schools also share their buildings and parking lots with other schools, vendors,
     churches, or public entities, such as the Chicago Park District. Some also lease their


     19
          See CPS.edu, CPS Stats and Facts, https://cps.edu/About_CPS/At-a-glance/Pages/Stats_and_
          facts.aspx (last visited August 15, 2018).


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     facilities for events, such as sporting events, summer camps, community meetings,
     fundraising activities, and parking cars.

     CPS’ Chief Executive Officer and Central Office manage CPS, and they report to the
     Chicago Board of Education. The current CEO is Dr. Janice Jackson. The Central Of-
     fice has many departments, including the following that are particularly relevant
     to this report:

     ► The Law Department,

     ► The Safety and Security Department,

     ► The Talent Office (also known as Human Resources),

     ► Office of Diverse Learner Supports and Services (also known as the Special Ed-
       ucation Department),

     ► The Office of Family and Community Engagement in Education (also known as
       FACE),

     ► The Office of Language and Cultural Education,

     ► Local School Council Relations Office,

     ► The Department of Facilities – Asset Management,

     ► Information and Technology Services, and

     ► The Communications Department.

     CPS organizes most district-run schools into networks led by network chiefs and
     their employees, which may include deputy chiefs, data strategists, instructional
     support leaders for each content area, and administrative support. The network
     chiefs report to the Office of Network Support. School principals report directly to
     network chiefs, except for Independent School Principals, who are allowed to run
     their schools independent of a network office after they meet certain qualifica-
     tions and CPS approves.

     When we started this evaluation, CPS had 13 networks divided by geographic re-
     gion, and each network included primary and secondary schools. CPS is in the pro-
     cess of combining its secondary schools into one network. Because this transition




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     is still underway, we will continue to refer to the 13 networks in this preliminary
     report, as reflected below.20




     The CPS Central Office does not have full control over schools. Local School Coun-
     cils, for example, have discretion to hire and fire principals. In addition, CPS shares
     responsibilities for student safety with the following stakeholders:

     ► The CPS Inspector General,

     ► The Illinois State Board of Education,

     ► The Illinois Department of Children and Family Services,

     ► The Illinois State Police Department, and

     ► The Chicago Police Department.



     20
          See Chicago Data Portal, Chicago Public Schools – Geographic Networks, https://data.cityofchi-
          cago.org/Education/Chicago-Public-Schools-Geographic-Networks/3y7n-mx9t (last visited Au-
          gust 16, 2018).


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     The over 600 Chicago public schools vary dramatically in size, demographics,
     school and community cultures, and scholastic achievement. As a result, different
     schools face different challenges and must set different priorities based on the
     varying needs of their students. CPS’ current student demographics are as follows:

               RACE/ETHNICITY (2018)

                   Hispanic ..............................................................................46.8%
                   Black ...................................................................................37.0%
                   White..................................................................................10.2%
                   Asian .....................................................................................4.1%
                   Other ....................................................................................1.9%

               SOCIO-ECONOMIC STATUS21

                   Tier 1 (lowest) ....................................................................28.4%
                   Tier 2 ..................................................................................27.8%
                   Tier 3 ..................................................................................25.5%
                   Tier 4 (highest) .................................................................18.23%

               STUDENTS IN TEMPORARY LIVING SITUATIONS ......................................8.6%
                  (about 9,514 students)

               LIMITED ENGLISH PROFICIENCY ........................................................18.2%

                   With household languages including Spanish, Arabic, English,
                   Cantonese, Urdu, English, Yoruba, French, Swahili, Portuguese,
                   Polish, Ukrainian, Assyrian, Vietnamese, Tagalog, and others

               STUDENTS WITH INDIVIDUALIZED EDUCATION PROGRAMS

                   As of 2017: ...................................................................... 13.7%22


                                                            ***




     21
          According to CPS’ website, about 77.7% of CPS students in 2017/2018 were economically dis-
          advantaged. See CPS.edu, CPS Stats and Facts, https://cps.edu/About_CPS/At-a-glance/Pages
          /Stats_and_facts.aspx (last visited August 15, 2018). CPS has found that the economically dis-
          advantaged figure is not as reliable as the tier system, which bases socio-economic status on
          median family income, percentage of single-parent households, percentage of households
          where English is not the first language, percentage of homes occupied by the homeowner, and
          level of adult education.
     22
          This 13.7% figure is based on an estimate for the 2017-2018 school year. See id.


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            Systemic Deficiencies Regarding Sexual Misconduct against Students

     During this evaluation, it was our goal to determine how best to arm the CPS com-
     munity—including administrators, employees, vendors, volunteers, students, par-
     ents, and guardians—with effective policies and procedures to prevent and ad-
     dress sexual misconduct. To achieve that end, we interviewed over 80 CPS employ-
     ees, including nearly 70 CPS administrators, about what CPS was or was not doing
     before the Betrayed series and why. Their responses inform this report and are
     cited throughout. Here is a brief summary of what they said:

     ► Initial Background Checks. For the last few years, CPS has done background
       checks for all new CPS hires. CPS cannot confirm that all of its vendors received
       background checks. It is clear, however, that not all schools required volunteers
       with substantial student contact to go through the requisite background
       checks. During their interviews, many administrators did not know whether
       volunteers had received background checks, and many admitted that some
       volunteers who needed to receive background checks probably did not. This
       fact was proven this summer: When CPS reemphasized the importance of
       background checks for volunteers, some schools had to temporarily shut down
       their summer athletics programs to meet this requirement.

     ► Ongoing Background Checks. CPS did not have a reliable method for receiving
       updates regarding CPS employees’ arrests or convictions during their tenure.
       CPS did not have a method for checking vendors’ or volunteers’ arrests or con-
       victions. Volunteers—who do not go through the same onboarding process
       that employees do—needed to go through background checks only once to
       volunteer indefinitely.

     ► Reference Checks. CPS divides the hiring of school employees among various
       departments. CPS typically leaves reference checks to individual principals and
       assistant principals. Whether principals did reference checks and how they did
       them varied. Most principals said that they did not perform reference checks,
       because CPS prohibited them from asking any helpful questions. Others said
       that CPS provided no guidance as to what they could ask, and therefore, they
       would feel free to ask anything, although they never considered asking about
       whether someone had a history involving sexual misconduct. Instead, these
       principals assumed that the person giving the reference would mention any
       history of sexual misconduct. Yet, most principals said that if they were called
       for a reference check, they would not disclose if a former employee resigned
       or was terminated because of sexual misconduct. Most reported that they
       would say only that they would not rehire the person or they would only pro-
       vide the job title and dates of employment.

     ► Policies and Procedures. CPS has many policies, procedures, and guidelines.
       Principals cannot memorize all of them, but ideally, they would know where to


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        find them. Unfortunately, CPS policies, procedures, and guidelines are spread
        throughout different platforms and sources and sometimes contain conflicting
        information or priorities. Some policies and procedures are on the Chicago
        Board of Trustees website. Others are on CPS’ human resources website
        (“HR4U”). Others are on CPS’ online “Knowledge Center,” which grants users
        with different levels of access different policies and procedures, including, for
        example, the “Principal Handbook” for administrators. Other policies and pro-
        cedures are on individual school websites. Some schools have school-specific
        policies and procedures in employee, student, parent, and guardian hand-
        books. Some principals said that they resorted to internet searching to locate
        policies, without confirming that the search result was actually the current pol-
        icy. Many principals expressed confusion or frustration with where the policies
        and procedures were located, how they were organized, and how new policies
        and updates were delivered.

     ► Training. CPS did not consistently train employees, vendors, volunteers, stu-
       dents, parents, or guardians about its policies and procedures regarding sexual
       misconduct against students. Most CPS principals described learning CPS’ pol-
       icies and procedures on the job as issues came up, rather than by having a
       thorough training on the front end. Most principals said, for example, that they
       receive general policy and procedure refreshers at the annual Legal Confer-
       ence, from internal emails, weekly newsletters, and from communications
       with other CPS Departments or through their network chief. Many principals
       believed that CPS’ Talent Office trains new employees on these policies and
       procedures during the “on-boarding” process, but they could not say for sure.
       Some principals went beyond the training CPS required, but more principals
       reported that they trained their employees only every few years through the
       Illinois Department of Children and Family Services (DCFS) online mandatory
       reporting training. Other principals admitted that they did not train for em-
       ployees regarding sexual misconduct. Regarding student training, many princi-
       pals were unaware of the Sexual Health Curriculum requirement and others
       confirmed that they did not meet these requirements. Only a handful of prin-
       cipals held any relevant training sessions for parents or guardians, but they also
       added that it is difficult to get parents or guardians to attend these events.

     ► Reporting. CPS policies require employees to contact DCFS regarding sexual
       misconduct involving a student and an adult. CPS recently added a require-
       ment for employees to also notify their principal. But most principals said that
       their schools already followed this practice, and principals knew to contact the
       CPS Law Department, notify parents or guardians, log an “incident report” in
       CPS’ Verify Incident Management software system (Verify), and call the police
       if the allegation described a crime. Other principals, however, were unsure of
       the reporting process, especially for student-on-student sexual misconduct.
       What is more concerning is that these principals were unsure whether or when


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          they should record non-student misconduct in Verify.23 Likewise, for sexual
          misconduct between students, some administrators would leave the decision
          to notify the police up to the victim’s parents or guardians. Most principals said
          that they did not and would not notify the Illinois State Board of Education for
          adult perpetrators since they assumed someone from the Central Office would
          do so. Given the difficulty of finding accurate policies, the urgency of the situ-
          ations, and the fear of doing something wrong, many principals said that their
          first call was to CPS’ Law Department. Many principals said, however, that they
          would conduct an initial investigation into allegations before reporting out and
          had not received training on how to do this or what the scope of this initial
          fact-finding should be.

     ► Investigations. DCFS, the Chicago Police Department, CPS’ Law Department,
       and, sometimes, local school administrators investigated allegations of sexual
       misconduct by adults against students. In comparison, local-school administra-
       tors typically investigated allegations of sexual misconduct between students
       and referred serious offenses to parents or guardians, the Law Department,
       and the Chicago Police Department. In general, CPS did not provide sufficient
       training for administrators or investigators on how to investigate these cases.
       Most administrators said, for example, that they learned how to handle cases
       on the job, as issues arose. As a result, it is unlikely that evidence was stored
       or preserved consistently or correctly in all cases, and many victims were asked
       the wrong questions during multiple interviews in the wrong settings by un-
       trained employees.

     ► Response. Most schools have some access to CPS guidance counselors, social
       workers, case managers, and psychiatrists. The vast majority of administrators
       said that these positions are understaffed. Many schools, however, used their
       schools’ discretionary funds to add additional support and partnered with local
       organizations to provide additional resources to children, such as psychologists
       or additional counselors. Some victims, however, did not receive sufficient sup-
       port—or any support.




     23
          CPS is in the process of moving to a new software reporting system, called Aspen, by January
          2019.


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     Roadmap

     To address the systemic issues raised by the Betrayed series and those we identi-
     fied during this evaluation, we divided this report into seven broad categories: (1)
     Title IX, (2) Prevention, (3) Policies and Procedures, (4) Training, (5) Reporting, (6)
     Investigations, and (7) Response.

     We start with best practices and recommendations for CPS’ new Office of Student
     Protections and Title IX (OSP). Although these best practices and recommenda-
     tions overlap with the other six categories, we have separated Title IX into its own
     section, because its application is unprecedented at CPS, as well as most primary
     and secondary school districts. Specific recommendations and further details for
     the OSP are within each section.

     Although the other six categories also overlap, they track Title IX requirements,
     and we have found the category distinctions to be analytically useful. Within each
     section, we refer to both past and current practices for each category when there
     are relevant distinctions, given the recent changes by CPS, and provide our corre-
     sponding recommendations, including mechanisms for accountability.

     We conclude with a non-exhaustive list of additional steps and goals we plan to
     complete before providing our final report.




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           Implementing Title IX




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     I.        Implementing Title IX

     KEY RECOMMENDATIONS
     → Create and fully staff a Title IX Office.

     → Designate at least one trained Title IX Office contact in each school.

     → Create a comprehensive plan to prevent and respond to sexual misconduct
       against students in compliance with Title IX and best practices.



     Title IX of the Education Amendments of 1972 (Title IX), applies to all education
     programs and activities by recipients of federal funds, including primary and sec-
     ondary schools and districts, such as CPS.24 In short, Title IX:

     ► Protects all students from unwanted sexual conduct by students, employees,
       and third parties;

     ► Applies in all school operations and programs, whether on or off site; and

     ► Requires schools to stop and prevent unwanted sexual conduct, as well as rem-
       edy the effects of unwanted sexual conduct on victims.25

     This responsibility is particularly true for primary and secondary schools, which
     have “a substantial degree of supervision, control, and disciplinary authority over
     the conduct of students.”26

     The Supreme Court, Congress, and federal executive agencies, including the De-
     partment of Education, recognize that unwelcome sexual conduct—i.e., “sexual
     harassment,” broadly defined—involving a student can violate Title IX as a form of
     discrimination.27 According to guidance from the U.S. Department Education Of-
     fice for Civil Rights, the key question to determine whether the unwanted sexual
     conduct violates Title IX is whether it denies or limits a student’s ability to partici-
     pate in or benefit from the school’s activity.28 This can include unwelcome sexual
     advances, requests for sexual favors, and other verbal, nonverbal, or physical con-
     duct, including sexual violence.29


     24
          20 U.S.C. § 1681 et seq. See also, 34 C.F.R. Part 106.
     25
          See, e.g., U.S. Department of Education Office for Civil Rights, Revised Sexual Harassment Guid-
          ance: Harassment of Students by School Employees, Other Students, or Third Parties (January
          19, 2001), 4, 10, available at www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf.
     26
          Id. at 11.
     27
          Id. at 4.
     28
          Id. at 5.
     29
          See id.


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     Title IX’s prohibition against sexual harassment does not extend, however, to ap-
     propriate, nonsexual conduct, such as: a high-school coach hugging a student who
     scores a goal; a kindergarten teacher giving a consoling hug to a child with a
     skinned knee; or a student demonstrating a sports technique that requires contact
     with another student.30 In some circumstances, however, conduct that would oth-
     erwise be nonsexual may take on sexual connotations and become unwanted sex-
     ual conduct. For example, a teacher “repeatedly hugging and putting his or her
     arms around students under inappropriate circumstances could create a hostile
     environment.”31

     Thus, CPS is responsible for stopping, remedying, and preventing sexual harass-
     ment of students by students, employees, and third parties. Specifically, Title IX
     requires CPS to:

     ► Implement a policy against sex discrimination;32

     ► Adopt and publish grievance procedures for prompt and equitable resolution
       of sex-discrimination complaints;33 and

     ► Designate at least one employee to coordinate compliance with Title IX regu-
       lations, and ensure that all employees and students know who this employee
       is and how to contact him or her.34

     In addition to these requirements, CPS should follow best practices, especially the
     following:

     ► Adopt specific policies to address sexual misconduct by adults—including con-
       duct that involves students above the age of consent—because all sexual mis-
       conduct by adults has the potential to violate Title IX;35

     ► Train employees, students, parents, and guardians on all relevant policies and
       procedures regarding sexual misconduct;

     ► Provide regular training for the Title IX Coordinator and the Title IX contacts in
       each school to fulfill their responsibilities, including understanding policies and
       procedures and best practices for investigating complaints; and


     30
          See id.
     31
          Id. at 2.
     32
          See 34 CFR § 106.9.
     33
          See 34 CFR § 106.8(b).
     34
          See 34 CFR § 106.8(a).
     35
          See, U.S. Department of Education Office for Civil Rights, Revised Sexual Harassment Guidance,
          19-20. See also U.S. Department of Education Office of Safe and Healthy Students, A Training
          Guide for Administrators and Educators on Addressing Adult Sexual Misconduct in the School
          Setting (March 2017), available at https://www.rems.ed.gov/docs/ASMTrainingGuide.pdf.


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     ► Establish clear and comprehensive reporting practices.

     As noted in the Background Section, CPS is developing the Office of Student Pro-
     tections and Title IX (OSP) to address, among other things, allegations of sexual
     misconduct between students. The OSP can and should be CPS’ cornerstone for
     addressing sexual misconduct against students.

     CPS is currently working through the logistics of how to staff and implement the
     OSP. CPS anticipates designating 20 OSP employees, including investigators. The
     OSP will be responsible for investigating sexual misconduct between students and
     will likely create policies and procedures regarding sexual misconduct; train em-
     ployees, students, parents, and guardians on, among other things, those policies
     and procedures; and be a general resource for the CPS community.

     We also recommend that the OSP have trained, designated Title IX contacts in
     every school throughout CPS. It is unlikely that CPS can afford a designated Title IX
     employee, who has no other responsibilities, at each school. It is important, how-
     ever, that schools have at least one employee designated and trained to be the
     Title IX contact. This employee should, for example, be trained on how to gather
     information regarding alleged sexual misconduct without unnecessarily interrupt-
     ing schools, re-traumatizing victims, or jeopardizing future Illinois Department of
     Children and Family Services (DCFS), CPS Inspector General, or criminal investiga-
     tions.36

     We recommend that CPS use the OSP to develop a comprehensive plan to prevent
     and respond to sexual misconduct against students that, at minimum, incorpo-
     rates Title IX compliance, best practices, and Illinois law regarding sexual miscon-
     duct—including “Erin’s Law.”37 This plan should include information about updates
     to existing policies and procedures, plans to prevent sexual misconduct, trainings
     targeting all stakeholders regarding sexual misconduct, reporting checklists and


     36
          As clarified in the following sections, this does not mean that CPS employees should be con-
          ducting sexual-misconduct investigations themselves. Realistically, however, allegations come
          in all forms—which may not appear to involve sexual misconduct—and all levels of seriousness.
          CPS should have at least one employee in each school who can effectively gather enough infor-
          mation to make a report to DCFS, the CPS Inspector General, the OSP, or law enforcement.
     37
          105 ILCS 5/10-23.13. See also 105 ILCS 110/3 (requiring “age-appropriate sexual abuse and as-
          sault awareness and prevention education in grades pre-kindergarten through 12.”), 105 ILCS
          5/27-9.1(c) (requiring “All classes that teach sex education and discuss sexual intercourse in
          grades 6 through 12 shall . . . teach pupils to not make unwanted physical and verbal sexual
          advances and how to say no to unwanted sexual advances. Pupils shall be taught that it is wrong
          to take advantage of or to exploit another person. The material and instruction shall also en-
          courage youth to resist negative peer pressure.”), and 105 ILCS 5/27-13.3 (Internet Safety Edu-
          cation Curriculum for grades 3 through 12, recommending instruction on “Recognizing, avoid-
          ing, and reporting online solicitations of students, their classmates, and their friends by sexual
          predators.”).


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     contacts, investigation strategies, victim services, regular data collection, and feed-
     back mechanisms, such as surveys of students and employees regarding sexual
     misconduct, resources, and corresponding culture in CPS. CPS should also build in
     supervision and accountability mechanisms.38

     For these reasons, each of the following sections—prevention, policies and proce-
     dures, training, reporting, investigations, and response—will begin with best prac-
     tices and include recommendations that involve the OSP.




     38
          See EduRisk, Educator Sexual Misconduct, A Policy and Audit Guide for Protecting Children
          (2016), available at https://www.icmec.org/wp-content/uploads/2016/05/Policy-and-Audit-
          Guide-for-Protecting-Children.pdf.


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                         Prevention




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     II.    Prevention

     KEY RECOMMENDATIONS
     → Streamline background checks for employees, vendors, and volunteers.

     → Refresh background checks on an ongoing, staggered basis until CPS develops
       a reliable method of receiving up-to-date information regarding new arrests
       and convictions.

     → Require reference checks with previous employers that include a mandatory
       question about allegations and adjudications regarding sexual misconduct.

     → Create agreements with other districts and entities to share information, to
       the extent possible, to prevent predators from regaining access to students.

     → Consider an age restriction and additional screening or oversight requirements
       for specific types of volunteers, such as assistant coaches and alumni.

     → Require all adults to display photo-IDs at all times while in schools.



     A.     Title IX & Best Practices

     This entire report is aimed at preventing sexual misconduct against students,
     whether by keeping predators off school premises, identifying would-be offenders
     before they harm a child, stopping an offender from harming a child again, or de-
     terring sexual misconduct by conducting swift and efficient investigations and ad-
     judications. This section focuses specifically on mechanisms to prevent sexual mis-
     conduct by securing schools through background checks, reference checks, and
     building security.

     CPS is continuing to work out the logistics of the Office of Student Protections and
     Title IX (OSP). As CPS’ experts on Title IX and sexual misconduct against students,
     the OSP employees will likely be able to help create improved background-check
     procedures.

     B.     CPS Background Checks

     According to CPS, it has historically housed responsibility for background checks in
     several different CPS departments. Before 2011, the Talent Office, the Safety and
     Security Department (Safety and Security), and the Family and Community En-




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     gagement Department conducted background checks. During this time, back-
     ground checks for different groups, such as employees, vendors,39 and volunteers,
     were siloed within these different departments. This process was inconsistent for
     vendors and volunteers, and some departments were not conducting checks for
     vendors or volunteers at all.

     From 2012 to 2015, the Talent Office conducted background checks for employees
     and some vendors, the Local School Council Relations Office conducted back-
     ground checks for Local School Council members, and the Family and Community
     Engagement Department conducted background checks for volunteers. During
     this time, official guidance from the Illinois State Board of Education (ISBE) stated
     that schools could have new employees begin work before their background
     checks were completed.40 New CPS employees received their identification badges
     and access to the schools on the same day that they were fingerprinted and before
     they had cleared their background check. At that time, routine background checks
     sometimes took months to complete.

     In 2015, Safety and Security took over responsibility for all background checks ex-
     cept for members of Local School Councils. In 2018, Safety and Security also as-
     sumed responsibility for background checks of Local School Council members. As
     of the present date, Safety and Security is responsible for all CPS background
     checks.

     Safety and Security has seven employees dedicated to conducting background
     checks. Each employee has responsibility for a category of CPS-affiliated adults:
     one for CPS employees; two for vendors; two for charter schools; one for volun-
     teers; and one for field experience (student teachers). The employees assigned to
     volunteers and field experience divide responsibility for background checks of Lo-
     cal School Council members. All background-check employees are cross-trained to
     conduct checks outside of their designated category.

     Safety and Security conducts fingerprint-based criminal background checks. It
     searches records of the Illinois State Police (state and local), FBI (federal, non-Illi-
     nois, and non-local), state and national sex offender registries, Murder and Violent
     Offender Against Youth registry, DCFS (child abuse or neglect), and the City of Chi-
     cago’s “Do Not Hire” records. This is one of the most comprehensive background
     checks in the nation and exceeds most published recommendations regarding




     39
          For the purposes of this report, the word “vendor” includes all profit and non-profit organiza-
          tions that work with CPS schools.
     40
          See ISBE, Criminal History Records Information Checks for Certified and Non-Certified School
          Personnel (2012), available at https://www.isbe.net/Documents
          /guidance_chr.pdf.


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     background checks of people working with children.41 At present, each back-
     ground check costs $42.25. Background checks can be completed in as little as 24
     hours, but can take up to 30 days.

     CPS also has an informal process in place to review applicants for abuse and ne-
     glect adjudications under the Juvenile Court Act. In December 2016, the Chicago
     Board of Education amended its policy to allow the Talent Office to consider an
     applicant or current employee’s child abuse and neglect history, including “indi-
     cated” findings from DCFS.42 CPS now sends the names of all new CPS employees,
     vendors, charter and contract school employees, and Level One volunteers to DCFS
     for any “indicated” findings of child abuse or neglect to determine whether an ap-
     plicant may have a Juvenile Court Act adjudication. Since 2016, CPS has also sub-
     mitted the names of all current employees to DCFS. DCFS provided information for
     employees with indicated findings, and CPS disciplined those employees as appro-
     priate, up to and including discharge. We understand that CPS is still waiting for
     some additional information from DCFS for current employees. While this process
     with DCFS is not part of the standard background-check procedure, we understand
     that CPS and DCFS are working on an intergovernmental agreement to formalize
     this process.43

     When a background check returns without any “hits”—contacts with law enforce-
     ment—Safety and Security clears the applicant. When a background check returns
     with hits, Safety and Security sends the results of criminal background checks to
     the Criminal Background Committee (Background Committee). That committee is
     in the CPS Law Department’s Office of Employee Engagement. The Committee is
     responsible for evaluating these hits to determine whether an applicant can be
     cleared for a potential hire. The Background Committee reviews roughly 3,000
     background checks each year. The Background Committee is currently composed

     41
          See, e.g., Noy S. Davis, Kathi L. Grasson, Kimberly Dennis, Susan J. Wells, and Marsha B. Liss,
          Guidelines for the Screening of Persons Working with Children, the Elderly, and Individuals with
          Disabilities in Need of Support (1998), U.S. Department of Justice, Office of Juvenile Justice and
          Delinquency Prevention, available at https://www.ncjrs.gov/pdffiles/167248.pdf; Kristen D.
          Anderson and Dawn Daly, What You Need to Know About Background Screening (2013), U.S.
          Department of Justice, Office of Community Oriented Policing Services with the National Center
          for Missing and Exploited Children, available at https://ric-zai-inc.com/Publications/cops-p260-
          pub.pdf.
     42
          See Rules of the Chicago Board of Education, 4-4(b), available at http://www.cpsboe.org
          /content/documents/complete_board_rules_december_2017.pdf
     43
          As we continue our evaluation, we intend to reach out to DCFS, because the “indicated” findings
          appear limited. According to CPS, DCFS only asks the Cook County State’s Attorney Office to file
          juvenile court proceedings against people who are parents, guardian, or custodians of the
          abused or neglected child. As a result, the Cook County State’s Attorney would not file against
          other categories of people under the Juvenile Court Act, including those who are “responsible
          for the child’s welfare,” such as a teacher or daycare worker. The Cook County State’s Attorney
          Office may, instead, criminally charge those individuals in the Circuit Court of Cook County. CPS
          continues to explore further information sharing with DCFS to better protect children.


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     of representatives from the following offices: Employee Engagement, Safety and
     Security, Talent, Equal Opportunity Compliance, Facilities, and Languages and Cul-
     tural Education. There is no formal requirement for the number of people or de-
     partment representatives that must be at each meeting, but the Office of Em-
     ployee Engagement usually has a greater representation than other departments.
     Each representative at a Background Committee meeting is allotted one vote, and
     decisions about whether to clear or deny candidates are made by majority vote.

     If the hit is an “enumerated offense” (as defined below), the Background Commit-
     tee automatically denies the applicant. If the hit is a non-enumerated offense, the
     Background Committee evaluates the hit, including requesting police reports,
     court documents, or letters of explanation, and determines whether to clear the
     person. An applicant who is denied a position based on the results of the back-
     ground check may appeal the Background Committee’s decision within five days.

     In evaluating whether to clear a person, the Background Committee considers fel-
     ony and misdemeanor convictions. The Background Committee also investigates
     arrests that did not lead to convictions or dispositions that are not considered con-
     victions. Applicants may need to provide police reports and letters of explanation
     if they have been arrested for serious violence, including multiple arrests for do-
     mestic abuse; a single felony violence charge; sexual conduct; or for an offense
     where there is a nexus between the arrest and job duties. CPS has not always per-
     formed a full investigation into the circumstances surrounding misdemeanor ar-
     rests or convictions that were pleaded down from a higher offense. In evaluating
     patterns of past conduct, the Background Committee closely scrutinizes applicants
     for positions that work with especially vulnerable students, such as special educa-
     tion teachers, bus aides, and security officers. Occasionally, the Background Com-
     mittee will refer applicants to the Investigations Unit of the Law Department if the
     Background Committee finds that it needs more information to evaluate the ap-
     plicant. The Background Committee uses guidance from the Equal Employment
     Opportunity Commission to evaluate applicants with arrest records.44

     ► CPS Employees

     Since August 12, 2004, the Illinois School Code requires school districts to perform
     a fingerprint-based background check on all employees.45 Both the Illinois School
     Code and Board Rules prohibit CPS from employing anyone who has been con-
     victed of a criminal offense that is enumerated in the Illinois School Code (“enu-
     merated offense”). These offenses include homicides, sex offenses, and certain


     44
          See U.S. Equal Employment Opportunity Commission, EEOC Enforcement Guidance: Considera-
          tion of Arrest and Conviction Records in Employment Decisions Under Title VII of the Civil Rights
          Act of 1964 (2012), available at https://www.eeoc.gov/laws/guidance/arrest_conviction.cfm.
     45
          See 105 ILCS 5/34-18.5(a).


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     drug offenses.46 CPS is also prohibited from employing someone who has been
     found to be the perpetrator of sexual or physical abuse against a minor under the
     Juvenile Court Act, but as noted, these records are not always accessible.

     In 2012, CPS audited their records to ensure it had at least one background check
     for all employees on file. CPS identified that some employees needed to receive a
     background check, and some of these employees’ background checks led to CPS
     terminating their employment. According to CPS, it has conducted background
     checks for every new CPS employee since this audit.

     Safety and Security has one employee dedicated to conducting CPS employment
     background checks. Newly hired CPS employees are not permitted to start work
     until they have been affirmatively cleared in writing by the Talent Office. This pro-
     hibition applies to hourly and miscellaneous employees, athletic coaches, former
     students, and any other person applying for a job within schools.

     ► Volunteers

     A person convicted of an enumerated offense is ineligible to be a volunteer,47 as is
     anyone on a sex-offender registry.48 But there is no legal requirement that CPS
     conduct criminal background checks on volunteers. CPS is authorized, however, to
     conduct background checks on volunteers under the Uniform Conviction Infor-
     mation Act49 and the Adam Walsh Act.50

     Before 2014, CPS conducted name-based background checks on volunteers. Since
     2014, CPS has conducted fingerprint-based background checks on volunteers ex-
     pected to have a certain level of student access. CPS divides volunteers into two
     groups: Level One and Level Two. All volunteers must complete an application to
     volunteer through the Family and Community Engagement Department (also
     known as FACE), but only Level One volunteers are background checked. CPS policy
     clearly defines the distinction between Level One and Level Two volunteers, based
     on the number of hours spent with students on a weekly basis, whether there is
     an overnight stay involved, and other characteristics.51 CPS has previously consid-
     ered but elected not to require background checks for Level Two volunteers, be-
     cause of their limited amount of unsupervised student contact and the chilling ef-




     46
          See 105 ILCS 5/21B-80.
     47
          See CPS Policy Manual § 801.2 (Volunteer Policy) (adopted March 26, 2014), available at
          https://policy.cps.edu/download.aspx?ID=272.
     48
          See id.
     49
          20 ILCS 2635/1 et seq.
     50
          42 U.S.C. § 16911 et seq.
     51
          See CPS Policy Manual § 801.2.


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     fect it would have on undocumented parents or guardians. Principals have discre-
     tion to require Level Two volunteer background checks, but if they elect to do so,
     they must check all Level Two volunteers.

     Under CPS’ Volunteer Policy, the principal at each school, with assistance from the
     Department of Family and Community Engagement, is responsible for reviewing
     volunteer application forms from eligible candidates, completing an interview with
     the candidate, as necessary, and determining whether the candidate is a Level One
     or Two volunteer. Principals then send the names of Level One volunteers to Safety
     and Security for a full background check. Safety and Security has one employee
     dedicated to conducting volunteer background checks. The Background Commit-
     tee reviews results of Level One volunteer background checks and determines
     whether to clear volunteers. The Background Committee is not required to adhere
     to the Equal Employment Opportunity Commission guidance in determining
     whether to clear volunteers and, in practice, tends to evaluate volunteers under a
     stricter standard than employees or vendors.

     In practice, most interviewed principals who had volunteers at their schools did
     not personally oversee the volunteer intake process or conduct interviews of vol-
     unteers. Instead, principals delegate this task to subordinates. For example, many
     athletic directors and coaches have significant discretion in selecting their own vol-
     unteers. To be clear, in practice, most volunteers do not go through any formal
     “interview.”

     Volunteers must receive an approval notice before volunteering in a school. When
     a volunteer completes the approval process, the volunteer and the Volunteer Co-
     ordinator at the relevant school will receive affirmative notice in writing. Ques-
     tions about a volunteer’s clearance are directed to Family and Community Engage-
     ment.

     ► Vendors

     The Illinois School Code requires that districts conduct fingerprint-based back-
     ground checks for certain vendors.52 The same background check used for CPS em-
     ployees is used to screen all people and employees of firms holding contracts with
     CPS who have direct, daily student contact, and vendor employees who have a
     conviction on the enumerated offense list or involving sexual or physical abuse of
     a minor under the Juvenile Court Act cannot work in CPS buildings.53 Safety and
     Security has two employees dedicated to conducting vendor background checks.
     Historically, CPS has conducted such checks for employees of its largest vendors
     (e.g., Aramark, Sodexo, and Safe Passage), but other vendors are supposed to con-
     duct background checks themselves. Vendor employees providing services with

     52
          105 ILCS 5/34-18.5(f).
     53
          See id.


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     student contact must be background checked, such as custodians. Certain vendor
     employees with little to no student contact do not have to be background checked,
     such as landscapers.

     ► Charter and Contract Schools

     Charter schools are publicly funded but operate independently from CPS and can
     hire their own employees without CPS involvement. As a result, charter schools
     are not legally required to comply with CPS background-check policies.

     Since 2017, however, CPS has been actively working to ensure all charter-school
     employees undergo the same background-check procedures as CPS employees,
     and Safety and Security has two employees dedicated to conducting background
     checks for charter schools. CPS has memoranda of understanding with some char-
     ter schools to follow CPS’ background-check procedures. On October 24, 2017, the
     CPS Inspector General’s Office found that 163 former CPS employees on CPS’ per-
     manent Do Not Hire list were working at charter and contract schools. CPS had
     placed three of these employees on the Do Not Hire list because of sexual miscon-
     duct against students.

     According to CPS, it cannot legally force charter schools to comply with CPS’ back-
     ground-check process.54 Although charter school have the ultimate authority on
     whether to hire an applicant, the Background Committee reviews background
     checks for prospective charter-school employees and provides relevant infor-
     mation to the charter schools so that they can make fully informed decisions.

     As of November 22, 2017, 131 of 142 charter schools voluntarily agreed to use
     CPS’ background-check process. In response, CPS released the names of the 11
     charter schools that refused to follow CPS’ background-check process.55

     ► Field Experience

     Like other teachers, student teachers who have been convicted of an enumerated
     offense or of an offense involving sexual or physical abuse of a minor under the
     Juvenile Court Act cannot work in CPS.56 The Illinois School Code requires that all
     student teachers and interns submit to a fingerprint-based background check and




     54
          See CPS.edu, CPS Releases List of Charter Schools Refusing to Use CPS Background Check Process
          (last modified November 22, 2017), https://cps.edu/News/Press_releases/Pages/PR1_11_22_
          17.aspx (last visited August 16, 2016).
     55
          See id.
     56
          See 105 ILCS 5/34-18.5(g).


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     pay the costs of the check.57 Safety and Security designates one employee to con-
     duct field experience background checks.

     ► Local School Councils

     Members of Local School Councils are required to undergo background checks,58
     and enumerated offenses disqualify a person from serving on a local school coun-
     cil.59 Until 2017, Local School Council Relations Office maintained responsibility for
     conducting background checks on members of Local School Councils but was not
     consistently conducting these checks. In 2017, Safety and Security took over re-
     sponsibility for Local School Council background checks, and the people responsi-
     ble for volunteer and field experience background checks are jointly responsible
     for local school council background checks. Local School Council background
     checks are sent to the Background Committee. If a Local School Council member
     has a criminal history containing an enumerated offense, that person will not be
     cleared.

     ► Coaches

     In accordance with the policies above, coaches who were employees or Level One
     volunteers received the corresponding background checks. Coaches who were
     Level Two volunteers did not need to receive background checks. But not all prin-
     cipals and athletic directors followed this policy, and some principals reported that
     some coaches were allowed to volunteer without any assessment of whether they
     qualified as a Level One or a Level Two volunteer. When refreshing background
     checks in the summer of 2018, CPS discovered that some volunteer coaches had
     never received a background check.

     We understand that CPS is currently amending their volunteer policy to require all
     coaches to receive background checks.

     C.        Ongoing Background Checks

     The Illinois State Police’s “Rap Back” program is supposed to inform CPS whenever
     an employee—who has received a fingerprint-based background check—is con-
     victed of a crime. CPS then sends that information to the CPS Law Department for
     review and appropriate disciplinary action. Because the Rap Back program applies

     57
          See 105 ILCS 5/10-21.9(g). Initially, there was some confusion about whether the universities
          providing these student teachers should conduct these checks. Subsequent, official ISBE guid-
          ance, however, states that student teachers should authorize the school district to conduct the
          background checks, pay the costs, and receive a copy of the report. See Illinois State Board of
          Education, Criminal History Records Information Checks for Certified and Non-Certified School
          Personnel (Fall 2012), 7, available at https://www.isbe.net/Documents/guidance_chr.pdf.
     58
          See 105 ILCS 5/34-2.1(f).
     59
          See 105 ILCS 5/34-2.1(f-5).


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     only to convictions, there is a long, inherent delay between arrest, conviction, and
     the notification to CPS—if any notification arrives at all. The Rap Back program
     applies only to Illinois convictions, so CPS would not receive any notification of
     convictions in other state or federal courts. CPS policy requires employees to self-
     report to CPS when they have been convicted of certain enumerated convictions.60

     CPS has not historically conducted additional or ongoing background checks for
     any groups after the initial check and has instead relied entirely on self-reporting
     and the Illinois Rap Back program.61

     D.        Background Check Policy Changes and Recommendations

     This summer, with our consultation, CPS announced a background check “refresh.”
     All employees, vendors, and Level One volunteers are required to submit to a new
     background check through the CPS background-check process. Anyone who does
     not complete the background-check process before the start of school will not be
     allowed to enter a school until he or she complies. For this background check re-
     fresh, Safety and Security is conducting all of the background checks, including
     those of vendor employees whose employers would typically conduct their own
     background checks. As vendor contracts come up for renewal, CPS plans to revise
     the contracts to require that CPS, rather than the vendor, conduct all background
     checks.

     CPS is instituting a new policy requiring all athletic coaches to go through a cen-
     tralized eligibility screening process before any coaching activity. Anyone involved
     with a team, including game day and practice volunteers, team managers, trainers,
     and former student athletes, are considered coaches that must go through the el-
     igibility process. The eligibility process will include a background check, certifica-
     tions, and training on recognizing, preventing, and reporting sexual misconduct.

     CPS set specific deadlines to complete stages of the background check refresh. CPS
     began employee background checks in June. CPS launched principal webinars and
     trainings on June 20th and 21st. By June 29, principals were to complete an inven-
     tory of volunteers, vendors, and coaches at their schools. For coaches of fall-sea-
     son sports, CPS set a deadline of July 27 to complete the eligibility process. For the
     remaining groups, CPS set a deadline of August 24 to complete the background
     checks. During July and August, CPS is conducting background checks of volun-
     teers, vendors, and coaches. CPS relied on principals to provide updated lists of
     the volunteers, vendors, and coaches working within their schools through the



     60
          See Rules of the Chicago Board of Education, 4-5, available at http://www.cpsboe.org/content
          /documents/complete_board_rules_december_2017.pdf.
     61
          In the next phase of our evaluation, we will be working with the Illinois State Police to learn
          more about the Rap Back program and how to improve outcomes for CPS.


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     Online Data Acquisition system, known within CPS as “ODA.” As of the date of this
     report, CPS was still in the process of conducting employee background checks.

     By conducting the background check refresh, CPS has made significant progress
     toward ensuring that all adults working in schools have been background checked
     under uniform, rigorous standards. We recommend that CPS continue to imple-
     ment this background-check protocol for all new employees, Level One volunteers,
     vendor employees with direct student contact, charter schools, field-experience
     employees, Local School Councils, and coaches.

     The next step for CPS is to ensure that all adults are checked for criminal activity
     on an ongoing basis after they begin working in the schools. The current reliance
     on the Illinois Rap Back program is insufficient because it applies only to CPS em-
     ployees and Illinois convictions. For these reasons, we recommend that CPS re-
     check employees periodically. CPS could implement ongoing employee back-
     ground checks in multiple ways. The best practice is to re-check all employees after
     specific intervals of time, for example, every five years. CPS could stagger these re-
     checks to avoid the burden of re-checking all employees at the same time. If peri-
     odically re-checking all employees is economically unfeasible, CPS could conduct
     ongoing random background checks as an alternative.

     In addition to conducting periodic employee background checks, we recommend
     that CPS implement ongoing background checks for the other groups as well. For
     vendors, we recommend that CPS retain control over background checks for all
     relevant vendor employees, and as vendor contracts are renewed, that CPS revise
     the contract language to reflect this policy. We recommend periodic or random
     checks similar to the recommendations given above for CPS employees.

     We recommend that CPS re-check volunteers (including unpaid coaches) every
     year. More frequent background checks are necessary for volunteers because they
     are not included in the Rap Back program and do not have the same level of con-
     tact with or oversight from school administrators. We also recommend that, after
     each election, all members of Local School Councils undergo the same back-
     ground-check procedure as all other adults working in CPS.

     Moreover, there is an added difficulty in setting and maintaining boundaries be-
     tween students and volunteers who recently attended or graduated from the
     school where they are volunteering. In fact, recent graduates who serve as coaches
     have been implicated in issues and incidents of sexual misconduct. For these rea-
     sons, CPS should consider additional screens, levels of oversight, or age re-
     strictions for certain types of volunteers, especially assistant coaches.




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     For charter schools, we recommend that CPS exert control over background checks
     for all charter school employees to the greatest extent legally permissible and im-
     plement the same ongoing background-check procedures as for CPS employees.62

     We also make recommendations relevant to the Background Committee: We rec-
     ommend that the Background Committee endeavor to obtain any information that
     may provide greater context and clarity to the hits uncovered during the back-
     ground check. We understand that the Background Committee is required to eval-
     uate a vast number of background checks every year, about 3,000, and that this
     burden and limited resources constrain the Background Committee from exhaust-
     ing all sources of additional information. We therefore recommend that, for all hits
     that are sexual or violent in nature, the Committee submit a FOIA request to the
     relevant jurisdiction and require the applicant to provide a letter of explanation.

     E.        Reference Checks

     This section addresses reference checks, i.e., communicating with a candidate’s
     previous employer(s) before hiring a prospective school-based employee. This sec-
     tion first discusses historical and current practices before turning to recommenda-
     tions to improve the reference-check process for school-based prospective hires.

     Prospective school-based CPS employees include a list of references in their em-
     ployment applications, such as previous employers. The Talent Office does not
     handle reference checks. Instead, the hiring principal determines whether to check
     one or more of the listed references. In practice, CPS principals do not always per-
     form reference checks before recommending that a candidate be hired and sub-
     mitting the candidate to the Background Committee for clearance. In many cases,
     formal reference checks are not performed because a candidate has been en-
     dorsed or referred to the principal by people they trust, such as other teachers or
     employees. In other instances, a reference check simply is not performed.

     Related to reference checks is the CPS Do Not Hire list. The CPS Law Department
     may designate former CPS employees as “Do Not Hire.” The Do Not Hire list pro-
     vides an important supplement to formal criminal background searches, as it in-
     cludes former CPS employees who resigned after allegations were made against
     them but before formal findings were entered. The Do Not Hire list thus provides
     an important backstop to prevent CPS from inadvertently hiring a candidate who
     had been accused of sexual misconduct. CPS principals reported that they are
     likely to be candid with other CPS administrators regarding whether a candidate
     resigned amidst allegations of impropriety.



     62
          We note that recently enacted legislation will likely significantly expand the Rap Back program
          and will impact our recommendations regarding ongoing background checks depending on how
          that legislation is implemented by the Illinois State Police. See Illinois Public Act 100-0718.


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     If a candidate has not worked within CPS, however, the reference-check process
     becomes more important given the absence of a Do Not Hire list. Unfortunately,
     out-of-district reference checks often yield less fruitful information. Many states
     regulate the information that a former or current employer may permissibly dis-
     close to a prospective employer. In addition to state laws, many employers and
     school districts have adopted their own formal policies regarding the disclosure of
     information during a reference check. Because of those laws and policies, many
     employers receive information designed to minimize potential liability, and many
     companies and school districts, as a practical matter, do not disclose much, if any,
     information in response to a reference check.63

     We recommend that CPS create a consistent reference-check process for all pro-
     spective school-based hires. We further recommend that the reference-check pro-
     cess include a mandatory question regarding any allegations of sexual misconduct.

     To generate truthful responses from a candidate’s former employer, we recom-
     mend that CPS require candidates to sign a release or consent form stating that
     the candidate waives all claims against CPS and the candidate’s former employer
     and authoring the former employer to provide information about the candidate.64
     To ensure that CPS does not illegally deny employment to a prospective candidate,
     the CPS Law Department should develop appropriate forms to be signed by candi-
     dates to authorize the release of information.

     Principals currently perform reference checks. Rather than training all principals
     to do reference checks correctly and consistently, the Talent Office could perform
     reference checks. We understand that the Talent Office is establishing a system to
     ensure that references and employment histories are reviewed before a candidate
     is cleared for employment.

     Although a centralized approach would be easier to apply and enforce, there are
     drawbacks to having people other than principals perform reference checks. For
     example, principals may be more open to discussing a potential candidate with
     another principal than with a CPS administrator. An alternative approach would
     be to have principals perform reference checks, but have the Talent Office request
     records regarding sexual misconduct through a formal, written request to the can-
     didate’s former employer(s), enclosing a copy of the candidate’s consent and au-
     thorization form discussed above.



     63
          We note that although many organizations have "no response" policies for reference checks,
          there is some incentive to respond truthfully regarding dangerous former employees because
          failing to disclose this kind of information could potentially lead to liability for the former em-
          ployer if the employee engages in such conduct at his or her new employer.
     64
          The form of the waiver may need to vary depending on the state in which the former employer
          is located.


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     Regardless of who performs the reference check, we recommend that CPS estab-
     lish procedures to ensure that reference checks are performed. One method to
     ensure accountability would be to prevent the Talent Office from hiring anyone
     without a reference check, ideally from a former administrator. CPS could require
     principals to send a confirmation to the Talent Office, in writing, that a reference
     check had been performed. We understand that since 2016, CPS has emphasized
     to principals the importance of reference checks during the annual legal confer-
     ences, but in our opinion, emphasis without accountability is insufficient.

     F.        Students with Histories of Committing Sexual Misconduct

     Unlike its ability to exclude adults, CPS cannot simply exclude students with histo-
     ries of sexual misconduct from schools. As a result, CPS has had, and will continue
     to have, students attending schools on a daily basis who have broken laws or vic-
     timized others. CPS is in the difficult position of balancing these students’ best in-
     terests with the safety of other children. Developing specific recommendations to
     help CPS manage this balancing act and prevent students with histories of com-
     mitting sexual misconduct from reoffending will be a major focus of our continuing
     evaluation, although we note some of the issues here.

     Perhaps most importantly, Illinois and federal laws reduce much of CPS’ discretion.
     Students with serious behavioral issues—including those involving sexual miscon-
     duct—have privacy rights and are entitled to a public education. CPS cannot refuse
     to educate a child because of the child’s background. Many state and federal laws
     govern the confidentiality of student records, including the Family Educational
     Rights and Privacy Act (FERPA), the Illinois School Student Records Act (ISSRA), and
     the Individuals with Disabilities Education Act (IDEA).65 CPS also cannot refuse a
     student who fails to present a permanent or temporary record from a previous




     65
          According to CPS policy: “The CPD will notify CPS only of students who have been arrested or
          charged by the CPD for: (1) unlawful use of weapons (720 ILCS 5/24-1); (2) violation of the
          Illinois Controlled Substances Act (720 ILCS 570/100 et seq.); (3) violation of the Cannabis Con-
          trol Act (720 ILCS 550/1 et seq.); or (4), forcible felonies as defined in Section 2-8 of the Illinois
          Criminal Code (720 ILCS 5/2-8), which are listed as ‘treason, first degree murder, second degree
          murder, predatory criminal sexual assault of a child, aggravated criminal sexual assault, criminal
          sexual assault, robbery, burglary, residential burglary, aggravated kidnapping, kidnapping, ag-
          gravated battery resulting in great bodily and/or permanent disability or disfigurement, and any
          other felony which involves the use or threat of physical force or violence against any individ-
          ual.’” CPS Policy Manual, § 705.1 (Reciprocal Records Agreement Between Chicago Public
          Schools and Chicago Police Department) (adopted December 17, 1997).


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     school.66 CPS may not be aware that a student has a juvenile delinquency adjudi-
     cation, much less know the circumstances of the offense.67 As a result, CPS may
     not know whether to take special preventative measures with a particular child.68

     If CPS is made aware that a student has a history of committing sexual misconduct,
     CPS may institute a plan to provide the student with an education, while also tak-
     ing measures to protect other students. Depending on the student’s eligibility for
     special education or accommodations, these plans could include an Individualized
     Education Programs (commonly referred to as IEPs) under the Individuals with Dis-
     abilities Act; 504 plans, under Section 504 of the Rehabilitation Act of 1973; CPS
     Student Safety Plans; and CPS Functional Analysis/Behavior Intervention Plans.
     CPS often develops Student Safety Plans, which address safety issues, with CPS
     Functional Analysis/Behavior Intervention Plans, which address student behav-
     ioral concerns.

     CPS Student Safety Plans provide special supervision to particular students, which
     should include specific interventions to target dangerous or potentially dangerous
     behavior. Ideally, the school, the student, and the student’s parents or guardians
     collaborate to create Student Safety Plans, and Safety and Security may also be
     involved. These plans are revised, at least every quarter, to update all involved par-
     ties with the student’s progress. The plan should then be shared with any adult in
     the school who has an active role in the student’s education, including substitute
     teachers.

     CPS provides principals with an example Student Safety Plan for “Sexualized Be-
     haviors.” For students with sexual behavior problems, based on the severity and
     type of behaviors, these plans can include steps to ensure the following:

     ► The student sits alone on the bus near the bus driver, is escorted by an adult,
       and has specified bathrooms;

     ► The student is separated from the victim(s) at bus stops, on buses, in classes,
       or sports—with the victim(s) having the first choice of classes and sports;

     ► An assigned adult escorts the student;

     ► The student has scheduled check-ins and check-outs with a specified adult;
       and




     66
          See 105 ILCS 10/8.1(a) (Illinois School Student Records Act).
     67
          See 705 ILCS 405/1-8(f) (Juvenile Court Act).
     68
          If a student shows up without school records, CPS must still enroll that student before obtaining
          their records. See 105 ILCS 10/8.1(a).


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     ► The student is prohibited from certain events, locations, and privileges, like
       school dances, on-site daycare centers, or from being near students in special
       education classes, or who are three or more years younger.

     Student Safety Plans may also specify penalties for non-compliance. An example
     Student Safety Plan includes the following language for adults who are responsible
     for ensuring the plan is followed, which includes an emphasis on confidentiality:

            The confidentiality of this contract is crucial. Each participant
            agrees that s/he will not disclose the nature of the student’s adju-
            dication of delinquency or the terms of this contract to any other
            person. A violation of the confidentiality of this contract is cause for
            discharge under the Chicago Board of Education’s Employee Disci-
            pline Code. Each participant also agrees that s/he will make every
            effort to ensure that students who are affected by this contract are
            not stigmatized. . . . All participants are aware that an overly restric-
            tive safety contract may be detrimental by creating a negative self-
            fulfilling prophecy that could increase risk. Participants have re-
            viewed the results of a current sex offense specific evaluation/risk
            assessment to ensure that the appropriate level of supervision has
            been implemented for the student’s level of risk.

     In interviews, CPS principals had mixed reviews as to the effectiveness of Student
     Safety Plans in correctly balancing the interests of students. Some principals called
     for increased transparency for children who have committed sex crimes. Other
     principals did not trust communities to use that information constructively and
     feared employees creating self-fulfilling prophecies of failure for children with Stu-
     dent Safety Plans.

     Balancing the public interest in protecting children from students with a record of
     sexual misconduct with the public interest in rehabilitating those children is a
     question not only for CPS, but for the community at large. Current laws may ap-
     propriately balance those interests, or they may not. It may be in the best interest
     of many school communities if, for example, Illinois law were to make information
     about students who have been convicted of sex crimes more available to school
     principals and employees, but these choices are largely outside of CPS’ control. We
     also note that the students who need extra attention, such as detailed Student
     Safety Plans, are not evenly distributed across schools or grades. Some schools
     may need additional resources and assistance to manage students effectively.

     G.     Building Security

     School security has been a focus area for CPS in recent years, particularly with re-
     spect to gun violence. School building security is partially outside the scope of our
     evaluation, but we discuss building security insofar as it is relevant to preventing


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     sexual misconduct.69 Improvements to building security will ensure that unauthor-
     ized people are not able to commit misconduct in the future.

     As noted above, CPS is one of the largest school districts in the nation. Each school
     is unique. In some instances, multiple schools are located within a single building;
     in other instances, a single school spans multiple buildings.70 While some security
     protocols may not be feasible or even advisable in each school,71 CPS should at
     least consider the following security measures for each school:

     ► Visitor Sign-In and Sign-Out Sheets. We recommend that security require all
       visitors to sign-in and sign-out so that there is a clear record of access during
       school hours. One method that some CPS schools use to ensure visitors sign
       out is for school security or administrative employees to hold onto visitors’ IDs
       until they leave.

     ► Requiring Visitors IDs. Schools should require visitors to present photo identi-
       fication to enter a school. Security should then provide visitors with a tempo-
       rary visitor pass. Some schools have the ability to scan copies of the visitor’s ID
       and print a temporary photo ID. Either way, visitors should have and visibly
       display visitor IDs.

     ► Photo-ID Badges. We recommend that CPS require that every adult authorized
       to be in a school wear and display photo-ID at all times. This would include
       employees, vendors, and volunteers. To minimize the impact of stolen ID cards,
       CPS should periodically reissue IDs, and use a different color background to
       allow observers to quickly differentiate between valid and expired IDs.

     Requiring ID badges for adults is about more than just building security; it is also
     about creating a district-wide culture that sends the message that the CPS com-
     munity cares about student safety and that all eyes are watching to report unrec-
     ognized adults and inappropriate conduct. As a result, we recommend that CPS
     place these ID rules in every CPS handbook for employees, students, parents, and
     guardians, so that both adults and students will know the rule and to react if they
     observe any adult not wearing an ID.


     69
          Nearly all known incidents of sexual misconduct at CPS were committed by a trusted adult or a
          student, rather than by a stranger who snuck into the school.
     70
          To illustrate the differences between schools that affect potential district-wide security
          measures, we note that one school even has a 78-acre campus that includes a functioning farm
          and that some other schools share their buildings with other organizations, such as the Chicago
          Park District.
     71
          A minority of principals said that CPS did not provide enough security cameras for their schools,
          which they believed may be cost-prohibitive. Adding additional security cameras may not be
          economically feasible, but security cameras provide clear benefits to preventing sexual miscon-
          duct and responding to sexual-misconduct allegations, such as direct evidence to convict or
          exonerate the accused.


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           Policies & Procedures




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     III.        Policies and Procedures

     KEY RECOMMENDATIONS
     → Comply with Erin’s Law, and create and implement clear policies, procedures,
       and guidelines, including rules and standards for appropriate boundaries be-
       tween adults and students.

     → Maintain current policies, procedures, and guidelines in one, easily searchable
       source.

     → Ensure that policies and procedures regarding sexual misconduct against stu-
       dents are available to everyone, including students, parents, and guardians.

     → Convert policies and procedures into condensed, easy-to-read student materi-
       als that highlight the most important takeaways and are consistent, engaging,
       and age-appropriate.

     → Monitor compliance and update policies on an ongoing basis to address weak-
       nesses and new and unique challenges across schools and grade levels.

     → Create or update uniform employee, student, parent, and guardian hand-
       books, which contain all relevant policies and procedures regarding sexual mis-
       conduct involving students and appropriate boundaries.



     A.          Title IX & Best Practices

     Title IX requires CPS to have policies and procedures to address unwanted sexual
     contact against students, and CPS should have policies and procedures to address
     sexual misconduct, generally. These policies should include, among other things:

     ► Prevention strategies for students, employees, vendors, volunteers, parents,
       and guardians, including the following:

            ● How to identify signs of sexual misconduct and the importance of reporting
              questionable conduct early, before a hostile environment develops or sex-
              ual misconduct occurs;72 and




     72
            The CPS Inspector General and the Office of Student Protections and Title IX will split jurisdic-
            tion between allegations regarding adult-on-student sexual misconduct allegations and stu-
            dent-on-student sexual misconduct allegations, respectively.


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          ● Policies for monitoring and securing school environments—such as locked
            classrooms, storage rooms, and offices—especially before and after class.73

     ► Background-check policies for all adults.

     ► Rules and standards addressing appropriate and inappropriate oral, written,
       electronic, and physical conduct before, during, and after school. These rules
       should include exceptions (such as an appropriate employee helping a special
       education student who needs help using the restroom) and address “gray ar-
       eas” like the following:

          ● Interactions between students over the age of consent and students under
            the age of consent;

          ● Interactions between students over the age of consent and adults;

          ● Transporting students (e.g., to and from athletic events);

          ● After-school tutoring guidelines;

          ● An employee giving special attention toward a student; and

          ● Social-media boundaries.74

     ► Policies establishing that neither illegal nor inappropriate conduct will be tol-
       erated and can lead to termination of employment.

     ► Guidance for reporting potential sexual misconduct, including:

          ● An internal and external reporting policy that provides clear channels for
            reporting suspected sexual misconduct by students and by adults;

          ● Mechanisms for reporting concerns to the state education officials who
            certify and license educators—i.e., the Illinois State Board of Education
            (ISBE); and

          ● The prohibition of false reports.

     ► School and district-wide systems to ensure impartial investigations, including
       how to handle evidence (e.g., sexual images or “sexts” sent between children).




     73
          See U.S. Department of Education Office of Safe and Healthy Students, A Training Guide for
          Administrators and Educators on Addressing Adult Sexual Misconduct in the School Setting.
     74
          See id.


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     ► Methods for requesting and sharing records between schools and districts that
       address employees’ formal reprimands and dismissals for violating policies re-
       garding sexual misconduct.75

     CPS should adopt the policies mentioned above in addition to the mandated re-
     porter policies under Illinois law.76

     Further, CPS should share its policies with all stakeholders, so the people of Chi-
     cago know how their children are being protected and can provide feedback to
     improve and update these methods. The U.S. Department of Education, for exam-
     ple, recommends that school districts post policies and procedures on their web-
     sites and share them with parents; all school employees every school year during
     orientation; all school volunteers, vendors, new school employees, and volunteers
     as they come on board; the school board; state agencies; and law enforcement.77

     Finally, CPS should have policies and procedures to address sexual misconduct not
     only because it follows best practices, but because it is the law. “Erin’s Law” re-
     quires CPS to “adopt and implement” policies addressing sexual abuse.78 While
     Erin’s Law does not require specific policies or procedures, it provides recommen-
     dations, which we recommend CPS adopt and we discuss in the relevant sections
     of this report.79

     As described in the following subsections, to date, CPS has partially complied with
     Erin’s law by having “policies addressing sexual abuse.” CPS has not, however, ef-
     fectively implemented those policies.




     75
          See id. at 13.
     76
          See id. at 17-18.
     77
          Id. at 12.
     78
          105 ILCS 5/10-23.13 (emphasis added). Erin’s Law is named after Erin Merryn, an activist, au-
          thor, and survivor of child sexual abuse. Erin’s Law is intended to “shatter the silence and stigma
          around sexual abuse and educate children and empower them with their voice.” See
          https://www.erinslawillinois.org/about/.
     79
          These recommendations include the following: “age-appropriate curriculum for students in
          pre-K through 5th grade; training for school personnel on child sexual abuse; educational infor-
          mation to parents or guardians provided in the school handbook on the warning signs of a child
          being abused, along with any needed assistance, referral, or resource information; available
          counseling and resources for students affected by sexual abuse; . . . emotional and educational
          support for a child of abuse to continue to be successful in school[;] . . . methods for increasing
          teacher, student, and parent awareness of issues regarding sexual abuse of children, including
          knowledge of likely warning signs indicating that a child may be a victim of sexual abuse; . . . ac-
          tions that a child who is a victim of sexual abuse should take to obtain assistance and interven-
          tion; and . . . available counseling options for students affected by sexual abuse.” 105 ILCS 5/10-
          23.13.


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     B.        CPS Policies and Procedures

     With these best practices in mind, CPS has had comprehensive policies and proce-
     dures in place for a long time. Here is a non-exhaustive list of relevant Board poli-
     cies in effect:

     ► 102.8: Comprehensive Non-Discrimination Title IX and Sexual Harassment
       (adopted May 25, 2016);

     ► 410.5: Policy for School-Based Health Centers (adopted September 23, 1998);

     ► 504.10: Student Teacher and Pre-Service Teacher Enrollment (adopted April
       26, 2006);

     ► 511.1: Reporting of Child Abuse and Child Neglect (adopted July 23, 2008; re-
       cently amended June 27, 2018);

     ► 604.1 Acceptable Use of the CPS Network and Computer Resources (adopted
       July 22, 2009) (changes pending);

     ► 604.3: Student Travel (adopted May 26, 2010);

     ► 704.4: Domestic Violence, Dating Violence and Court Orders of Protection, Re-
       straint or No Contact (adopted June 25, 2008);

     ► 704.5: Student Social and Emotional Health Policy (adopted September 22,
       2004);

     ► 704.6: Sexual Health Education (adopted February 27, 2013);

     ► 705.5: Student Code of Conduct for Chicago Public Schools (adopted July 25,
       2018);

     ► 705.6: Procedures for Interviewing Students in Chicago Public Schools
       (adopted July 23, 2008); and

     ► 801.2: Volunteer policy (adopted March 26, 2014) (changes pending).

     CPS has many other policies, procedures, guidelines, manuals, and school-specific
     handbooks. Unfortunately, they are spread throughout different platforms and
     sometimes contain conflicting information or priorities and may be out of date.80
     Many principals expressed confusion or frustration with where the policies and


     80
          There are policies and procedures, for example, on the Chicago Board of Trustees website, CPS’
          human resources website (“HR4U”), CPS’ online “Knowledge Center,” and on individual school
          websites.


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     procedures were located, how they were organized, and how new policies and up-
     dates were delivered. Some principals use Google to find CPS policies, without
     confirming that the search result produced the current policy. Thus, we recom-
     mend that CPS maintain current policies, procedures, and guidelines in one, easily
     searchable source.

     We further recommend that CPS make the policies and procedures regarding sex-
     ual misconduct involving students available to everyone, including students, par-
     ents, and guardians. CPS should also distill the most relevant aspects of the policies
     and procedures regarding sexual misconduct into district-wide handbooks for em-
     ployees, students, parents, and guardians. Most of the principals we spoke to
     thought that district-wide handbooks would be helpful, although some principals
     may want to supplement these handbooks with school-specific information. CPS
     could also update its Student Code of Conduct, which already includes policy ref-
     erences for students, parents, and guardians.

     Following our suggestion, CPS recently sent a template employee handbook to
     principals, which includes, for example, policies mandatory reporting and appro-
     priate boundaries between adults and students. CPS will have to update this hand-
     book as policies and procedures develop and the new Office of Student Protec-
     tions and Title IX takes form.

     While well-drafted policies and procedures can influence positive change, school
     culture is often what determines good behavior, with or without policies and pro-
     cedures. The most perfectly crafted policy at a school that does not care to know
     or follow it is worth less than a mediocre policy at a school that cares. Thus, we
     determined that a line-by-line breakdown of each policy and procedure is unlikely
     to be fruitful for the purposes of this preliminary report. But one CPS policy, de-
     scribed in the following section, provides a perfect example of CPS’ general issue:
     reasonable policies with ineffective implementation.

     C.     Appropriate Relationships Between Adults and Students

            1.      The CPS Policy

     In 2017, CPS issued guidance addressing appropriate boundaries between stu-
     dents and employees in a document titled “Guidelines Regarding Maintaining Pro-
     fessional Staff/Student Boundaries” (“Guidelines”). CPS also discussed these
     Guidelines with administrators during the 2017 Legal Conference. The Guidelines
     note that healthy relationships between students and school employees are im-
     portant to protect both students from sexual misconduct and adults from misun-
     derstandings and false accusations. The Guidelines apply to “all staff members,
     including and without limitation to teachers, coaches, counselors, administrators,




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     volunteers and other third-parties who interact with students.” As written, we be-
     lieve that the Guidelines are a good start, but that CPS will have to refine the
     Guidelines over time, for reasons described below.

     The Guidelines prohibit, for example, employees from singling out students for
     personal attention or friendship beyond the normal employee-student relation-
     ship; gift giving, other than nominal gifts to multiple students; sexual banter and
     flirting; and inappropriate physical contact. The Guidelines also prohibit employ-
     ees from initiating, accepting, or communicating with students on social network-
     ing sites and prohibit employees from transporting a student without written con-
     sent from the principal and the student’s parent or guardian and without having
     an additional adult present.

     While predators may not be deterred by any policy, these Guidelines could prevent
     sexual misconduct against students by adults by helping the CPS community iden-
     tify warning signs and stop inappropriate behaviors, and by fostering a culture
     where everyone is encouraged and expected to report questionable conduct.

     For example, these Guidelines may be particularly helpful at assisting the CPS com-
     munity with identifying “grooming,” the process by which a perpetrator seeks to
     gain the trust of a potential child victim to normalize sexual conduct over time. In
     general, perpetrators may engage in four stages of “grooming”: (1) targeting a po-
     tential victim; (2) building trust and friendship; (3) starting to isolate and control
     the victim and building loyalty; and (4) initiating sexual contact and securing the
     victim’s secrecy.81

     Establishing appropriate boundaries between adults and students is a starting
     point for detecting grooming behaviors before sexual contact can occur. The
     Guidelines should help members of the CPS community more readily recognize
     and stop inappropriate and unprofessional behaviors before sexual misconduct oc-
     curs. If a potential perpetrator’s grooming behaviors are outside the acceptable,
     established interactions between adults and students, then it is much easier for
     others to detect grooming behaviors and root out potential perpetrators before
     inappropriate relationships develop or sexual contact occurs.

               2.      Enforcement Mechanisms

     In theory, once the CPS community is familiar with the Guidelines, their enforce-
     ment will help innocent personnel avoid any appearance of impropriety while de-
     terring improper relationships with students. As broadly defined by CPS policy,




     81
          Brackenridge, Fasting. The Grooming Process in Sport: Narratives of Sexual Harassment and
          Abuse (2005), 5.


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     most instances of grooming will be very hard to prove,82 because it relies on prov-
     ing that behavior that may otherwise look innocuous is part of a pattern of im-
     proper conduct with improper motivations.83 The best way to prevent improper
     relationships from occurring is not to wait to prove that grooming actually oc-
     curred but to prevent situations that could lead to grooming from ever occurring.
     The Guidelines, properly implemented, will help adults avoid situations that could
     appear improper and recognize situations that actually involve or could lead to
     inappropriate relationships.

     A well-written boundaries policy expresses both specific rules and general guide-
     lines for interactions between adults and children. The rules should prohibit activ-
     ities that clearly should not occur between adults and students, such as a teacher
     inviting a student to his home or to dinner without parent approval. More general
     guidelines should be provided to help adults navigate conduct that may be proper
     and beneficial under certain circumstances but improper under others, such as
     one-on-one tutoring, congratulatory hugs, and so forth.

     When administrators enforce the rules and standards of a boundaries policy, well-
     intentioned adults—that is, most adults—will be incentivized to learn and think
     about what appropriate boundaries are, and to recognize and report potentially
     inappropriate conduct. Administrators then can evaluate the conduct, consider
     whether discipline is appropriate, counsel the adult to avoid such conduct in the
     future, and monitor the situation to ensure that inappropriate activities do not
     continue.

     Many principals were skeptical of whether the rules and standards in the Guide-
     lines were enforceable as written. With this in mind, we recommend that CPS



     82
          According to CPS policy, grooming is “behavior an adult uses to build an emotional connection
          with children to gain their trust and break down their inhibitions for the purpose of sexual
          abuse.” CPS Policy Manual § 511.1 (Reporting of Child Abuse, Neglect and Inappropriate Rela-
          tions Between Adults and Students) (updated June 27, 2018). The policy adds that “An adult
          may be ‘grooming’ a child or engaging in inappropriately intimate behavior with a child when
          the adult creates isolated, one-on-one interactions with a child (e.g., transporting a child with-
          out the written authorization of the principal and the parent, texting or direct messaging); gives
          gifts to a particular child (e.g., money, clothing); crosses physical boundaries (e.g., touching,
          giving prolonged frontal hugs, or making the child sit on the adult’s lap).”
     83
          The Illinois Criminal Code’s definition of “grooming” is also narrower than CPS’ definition: “A
          person commits grooming when he or she knowingly uses a computer on-line service, Internet
          service, local bulletin board service, or any other device capable of electronic data storage or
          transmission to seduce, solicit, lure, or entice, or attempt to seduce, solicit, lure, or entice, a
          child, a child's guardian, or another person believed by the person to be a child or a child's
          guardian, to commit any sex offense as defined in Section 2 of the Sex Offender Registration
          Act, to distribute photographs depicting the sex organs of the child, or to otherwise engage in
          any unlawful sexual conduct with a child or with another person believed by the person to be
          a child. As used in this Section, ‘child’ means a person under 17 years of age.” 720 ILCS 5/11-25.


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     reevaluate which conduct should be governed by a rule or a guideline and confirm
     that expectations and disciplinary criteria are clear for both adults and students.

               3.       Implementing the Guidelines in the CPS Community

     CPS has not taught or implemented the Guidelines effectively or sufficiently, ren-
     dering them ineffective. Even though CPS introduced the Guidelines in 2017 and
     posted the Guidelines on CPS’ new “Protecting Chicago’s Students” website84 in
     response to the Chicago Tribune’s Betrayed series, the vast majority of interviewed
     principals and assistant principals said that they had not seen the Guidelines.85 At
     one end of the spectrum, some principals reported that they had adopted portions
     of the Guidelines or similar rules within their individual school handbooks and dis-
     cussed them with employees annually during fall “professional development”
     days. On the other end of the spectrum, some principals reported essentially no
     familiarity with the Guidelines. Others had only limited familiarity with the topics
     contained in them and had not discussed these topics with employees, let alone
     vendors, volunteers, students, parents, and guardians.

     CPS took several steps to communicate the Guidelines to its school leaders and
     administrators. But the fact that most of these leaders still did not know the Guide-
     lines exist shows that CPS’ steps have been insufficient and ineffective.86

     Unsurprisingly then, schools have implemented the Guidelines in varying degrees.
     Some principals reported that they enforced the Guidelines or similar rules and
     that their employees had found alternative ways to accomplish communication
     with their students while still complying with the Guidelines. Other principals
     acknowledged that employees at their school consistently violate the Guidelines
     by, for example, permitting coaches to text message students privately or permit-
     ting coaches to transport students without prior permission. Many CPS employees
     appear to follow this reasoning: “Of course these policies are important, but they
     do not apply to me because I am not a predator.” This is a dangerous mindset and
     can lead to a dangerous culture. CPS’ ability to prevent sexual misconduct cannot
     rely on the CPS community’s ability to accurately guess intent.

     We recommend that CPS take steps to train principals, employees, vendors, vol-
     unteers, students, and guardians on the Guidelines, and then enforce the Guide-
     lines. As discussed in the next section, this training should not only provide a copy
     of the Guidelines, but also explain why the Guidelines are important, and how they

     84
          See CPS.edu, Protecting Chicago’s Students (last modified July 27, 2018), https://cps.edu/pages
          /protectingstudents.aspx (last visited August 16, 2018).
     85
          In fact, during the July 2018 Legal Conference, CPS quickly reiterated the existence of the Guide-
          lines to administrative staff. Still, most administrators who attended the 2018 Legal Conference
          before we interviewed them remained unaware of the Guidelines.
     86
          The Guidelines should be an important part of a mandatory online training, as discussed in
          Section IV (Training).


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     help detect and deter sexual misconduct. The training should also address the per-
     ceived drawbacks of certain aspects of the Guidelines. Better training on the
     Guidelines will also lead to more reporting of grooming behaviors and should op-
     erate to help prevent inappropriate relationships from forming or progressing.

               4.       Moving Forward

     As written, the Guidelines can help the CPS community navigate appropriate rela-
     tionships between adults and students.87 Because these Guidelines will need to be
     tried and tested within CPS, we do not speculate about which parts of the Guide-
     lines will work and which will need to be amended.88 We do, however, have some
     additional general recommendations for CPS to consider:

     ► Address Positive Activities. Given the recent scrutiny, many principals ex-
       pressed concern that the Guidelines would deter positive relationships and
       that even good employees would resist beneficial student relationships if they
       fear losing their jobs after false reports. To provide clearer guidance to employ-
       ees about what is appropriate, and to not discount the importance of positive
       relationships, the Guidelines should provide some examples of affirmative,
       permitted conduct between employees and students. Many principals—par-
       ticularly those whose students suffer from higher rates of violent crime and
       poverty in their communities—emphasized the need for strong bonds be-
       tween employees and students. As they put it, some students come to school
       with unique problems and struggles and, thus, need special attention. Some
       students, for example, do not receive sufficient support outside of school, and
       they may not see a purpose in education or investing in themselves unless they
       learn it in school. Some of these students may also have challenges with their
       peers or responding to authority, unless it is from a trusted adult with whom

     87
          A U.S. Department of Education report provides detailed guidance regarding appropriate versus
          inappropriate conduct. See U.S. Department of Education Office of Safe and Healthy Students,
          A Training Guide for Administrators and Educators on Addressing Adult Sexual Misconduct in
          the School Setting. Appropriate conduct between adults and students, for example, includes
          praise, positive reinforcement for good behavior or work product, humor and friendly com-
          ments, non-personal compliments, and interactions with students that are in plain sight, with
          doors open. Examples of inappropriate conduct, on the other hand, include sexually provoca-
          tive or degrading comments, risqué jokes, singling out students for favors, personal written
          notes or electronic communications between adults and students, and suggestive teasing that
          references gender or sexual innuendo.
     88
          We note, however, that the Guidelines may be unnecessarily restrictive in some instances, as
          pointed out by many principals—who are ultimately responsible for enforcing the Guidelines—
          once we showed them the Guidelines. This is particularly true with respect to limiting the re-
          sources that staff may use to communicate with students. We understand that CPS is currently
          reviewing its policy regarding approved electronic resources. As part of that review, we recom-
          mend that CPS ensure that appropriate phone applications and other classroom tools are vet-
          ted and permitted, so that principals and teachers do not feel inclined to simply disregard the
          policy as too restrictive.


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          they have a personal connection. Principals pointed to healthy relationships
          between employees and students as a method for reducing student miscon-
          duct and fostering a positive school culture.89 Principals uniformly agreed that
          the Guidelines—if known and implemented—could help foster these healthy
          and necessary relationships.

     ► Consider Differences Between Age Groups. CPS should consider whether it
       would be useful for the Guidelines to discuss differences in appropriate contact
       between age groups, from pre-kindergarten through twelfth grade.

     ► Note Special Circumstances. For clarity, the Guidelines should address the ex-
       istence of unique student relationships and contacts, including student groups
       that need extra attention and services, e.g., students with disabilities who
       need assistance in the restroom or with other activities of daily living.

     ► Post-Incident Reporting. CPS cannot write the Guidelines in a digestible format
       that anticipates all circumstances. In case these policies are overly restrictive
       or fail to foresee some necessary exception, employees should still be required
       to report exceptional circumstances immediately. If the policy prohibits em-
       ployees from being alone in a closed room with a student, for example, but a
       seriously distraught student comes into a teacher’s room crying and needing a
       moment to calm down, a teacher may decide that it is best to give that child a
       moment to recover. In that instance, the teacher should report that excep-
       tional circumstance to the principal. The principal should then record the inci-
       dent report, not to punish the teacher—unless the teacher’s decision was
       somehow egregious—but to explain why the Guidelines were not followed, to
       promote transparency, to protect everyone involved, and to track trends.

     ► Enforce, Monitor, and Update. CPS should welcome and consider feedback
       from school leaders who are required to enforce the Guidelines, because there
       may be aspects of the policy that work well in some schools but have unin-
       tended consequences in others. For example, some principals said that some
       employees are friends with students on social media—especially to keep up
       with and assist former students who are in college. Principals mentioned that
       some employees have used social media to identify serious threats between
       students, which the school has then used to prevent disputes or violence. Most
       principals, however, said that students will raise those issues to CPS employees
       by themselves, and the risks of social media connections between adults and
       students outweigh the benefits. This latter set of principals may be correct, or

     89
          The number of students who need this extra support varies among schools—with some princi-
          pals saying that all students in their schools need someone that they connect with. One staff
          member cannot have this bond with all students, and schools will need to divide and conquer.
          According to some principals, the student is often the one who chooses the adult to will con-
          nect with, which is why the relationship works.


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        both sets of principals may be accurately reflecting differences in cultures at
        their schools. CPS must keep in mind the unintended consequences of the
        Guidelines, listen to feedback from principals regarding recurring and new
        challenges (such as technology and changing norms), and be flexible when nec-
        essary—even if that means making some school-specific modifications for
        some aspects of the Guidelines.




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                            Training




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     IV.       Training

     KEY RECOMMENDATIONS
     → Train and frequently remind CPS employees, vendors, and volunteers how to
       prevent, identify, report, and respond to sexual misconduct—and that they are
       responsible for doing so. This training should include the following:

           ● Annual webinars for all adults who participate in school programs and
             events;

           ● Annual Illinois Department of Children and Family Services Mandatory Re-
             porting Training;

           ● A notification checklist to all members of the CPS community;

           ● Annual, district-wide training sessions during student and employee orien-
             tation (also known as “professional development” days for employees);

           ● Age-appropriate education regarding sexual misconduct and appropriate
             boundaries across all grade levels; and

           ● Training sessions for parents and guardians.

     → Create accountability for trainings by requiring proof of attendance and com-
       prehension and by tying this proof to evaluations.

     → Use experts, such as the Chicago Children’s Advocacy Center, to train CPS em-
       ployees and members of the Title IX Office.



     A.        Title IX & Best Practices

     As referenced in the previous section, to prevent sexual misconduct, CPS must cre-
     ate, maintain, and regularly update its policies and procedures that prohibit sexual
     misconduct, identify the warning signs of sexual misconduct, and explain how
     members of the CPS community should report and respond to allegations of sexual
     misconduct.90 All members of the CPS community must understand and appreci-
     ate these policies to prevent, identify, stop, and respond to sexual misconduct.
     Employees, vendors, volunteers, students, parents, and guardians must hold each
     other accountable. This accountability is particularly important because reports of
     sexually misconduct cannot be expected to always come from the victims. In fact,
     children who have been successfully “groomed” by predators are unlikely to come

     90
          See also, U.S. Department of Education Office for Civil Rights, Revised Sexual Harassment Guid-
          ance, 25.


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     forward until it is too late. To best protect children—inside or outside of school—
     CPS and the City of Chicago need all stakeholders to be ready, willing, and able to
     report inappropriate behaviors and sexual misconduct against children. For this
     reason, all members of the CPS community must understand not only the “what”
     but also the “why” behind the rules. High-quality training can help them get there.

     Specifically, CPS must provide general training regarding sexual misconduct involv-
     ing students for employees, students, parents, and guardians. Most of this section
     is devoted to discussing this training, but it is also important that CPS provide spe-
     cific training for administrators, investigators, and clinical employees to effectively
     prevent and address sexual misconduct against students without unnecessarily in-
     terrupting schools, re-traumatizing victims, or jeopardizing future DCFS, CPS In-
     spector General, criminal, or Title IX investigations.91 We recommend that the Of-
     fice of Student Protections and Title IX (OSP)—with the help of experts—develops,
     administers, and monitors all of these training sessions.

     CPS should implement a mechanism to ensure that all employees, vendors, volun-
     teers, and students complete trainings regarding sexual misconduct against stu-
     dents. CPS can, for example, require employees, vendors, and volunteers to certify
     that they have completed mandatory web-based training regarding sexual miscon-
     duct every year. To make these requirements meaningful, CPS administrators must
     also hold employees accountable by issuing unfavorable evaluations or taking dis-
     ciplinary action against people who do not complete mandatory trainings or follow
     the corresponding policies and procedures.

     At minimum and as a starting point, CPS should require annual sexual misconduct
     trainings for all CPS employees. These trainings can be web-based, with advance-
     ment through each “level” of the training determined by whether trainees answer
     specific questions correctly. Training for new hires should occur before they begin
     working with students.

     Additionally, CPS should soon require mandatory training for vendors, Level One
     volunteers, coaches, and students through a similar web-based training inter-
     face.92 These trainings should also be strongly encouraged for parents and guardi-
     ans. CPS should offer a separate training for each group listed above so that the
     content of the training can focus on each group’s responsibilities in identifying,
     preventing, and reporting sexual misconduct.

     Trainings should focus on more than Title IX compliance and explain what sexual
     harassment, sexual misconduct, and sexual violence are,93 how to identify warning

     91
          The importance of this training is discussed further in the following section (Reporting).
     92
          See, e.g., U.S. Government Accountability Office, Child Welfare.
     93
          See U.S. Department of Education Office for Civil Rights, Dear Colleague Letter (April 4, 2011),
          14, available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.


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     signs, and how to keep students safe. Importantly, trainings must include detailed
     information about warning signs and “grooming” behavior.94 Relatedly, trainings
     should also include a component on how to identify the warning signs of online
     sexual misconduct. This training component should emphasize issues that may
     arise with the use of electronic applications, such as texting and social media.

     We also recommend that CPS create or update district-wide employee, student,
     parent, and guardian handbook or materials and take related steps to ensure that
     CPS policies and procedures regarding sexual misconduct and appropriate bound-
     aries are applied uniformly. Since CPS already includes policy references for stu-
     dents, parents, and guardians in the Student Code of Conduct booklet, CPS could
     supplement this booklet with the updated policies and procedures regarding ap-
     propriate boundaries and sexual misconduct against students.

     B.        CPS Training

     Despite thorough policies and procedures, CPS failed to achieve uniform adoption
     and application of its policies and procedures, because it lacked proper training.

     Many principals said that they do not recall any type of training regarding sexual
     misconduct involving students besides the DCFS mandatory reporter training
     when they were hired. Other principals reported that they could not remember
     being trained on sexual misconduct at all, and that if it ever came up, the topic was
     not emphasized enough to remember. As a result, most principals said that they
     only learned how to respond to sexual-misconduct allegations on the job as issues
     arose.

     We include below a description of CPS’ historical training practices, the deficien-
     cies in those practices, and some additional, specific recommendations expanding
     on the best practices discussed above.

               1.       CPS Employees

     Illinois law requires all CPS employees to be “mandated reporters.”95 Mandated
     reporters must immediately call the DCFS hotline when they have reasonable
     cause to believe that a child known to them in their official capacity as a CPS em-
     ployee may have been abused or neglected. Since 2008, all new CPS employees




     94
          See U.S. Department of Education Office of Safe and Healthy Students, A Training Guide for
          Administrators and Educators on Addressing Adult Sexual Misconduct in the School Setting, 8
          (defining grooming as “desensitizing the student to inappropriate behaviors and making the
          child feel special in sexual and nonsexual ways”). See also EduRisk, Educator Sexual Misconduct.
     95
          325 ILCS 5/1 et seq. See also CPS, Crisis Management Manual (2012), 92-93, available at
          https://chooseyourfuture.cps.edu/sites/default/files/crisis_final_manual_update.pdf.


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     were required to complete an online training provided by DCFS regarding manda-
     tory reporter obligations.

     Some principals reported that they required their employees to annually complete
     this online training because they believed it was mandatory or was in accord with
     best practices, but most principals did not require employees to complete it annu-
     ally. We are not aware that CPS had any requirement before June 2018 that em-
     ployees complete training annually.

     CPS’ new policy, effective in June 2018, requires that all employees annually com-
     plete the DCFS mandatory reporter online training. The policy also requires each
     employee who completes the DCFS online training to retain a copy of the certifi-
     cate of completion and provide it to their principal or supervisor.

     We recommend that CPS requires principals to verify that all CPS employees in
     their buildings have completed the training before the start of every school year
     and to verify that new employees hired during the school year have completed
     that training before having contact with children. We further recommend that net-
     work chiefs require principals to certify that they have complied with this require-
     ment and maintained a file of their employees’ certifications. We further recom-
     mend that principals and teachers be held accountable through their evaluation
     process by providing these certifications to their supervisors.96 If CPS holds princi-
     pals and other employees accountable in this way, employees will complete the
     training, know their reporting requirements, and understand the importance of
     reporting suspected abuse and neglect.

     In addition to the DCFS mandatory reporter training, administrators historically re-
     ceived formal training on appropriate boundaries and sexual misconduct only
     through the annual Legal Conference, which addresses various legal topics and CPS
     policies.97 Some principals reported that they were told at the annual Legal Con-
     ferences to convey this information to their employees during fall professional-
     development days. Some reported that they did so, but many did not, and the
     depth and content covered varied from school to school. Some principals added
     that they did not feel competent to meaningfully train their schools on information
     that was only briefly covered during one session of a one-day legal conference.

     We understand that CPS will now require all schools to devote time annually dur-
     ing fall professional-development days to discuss appropriate boundaries, manda-
     tory reporting, and sexual misconduct. To help ensure consistency of content, we



     96
          Principals should also provide proof during their evaluations that their school employees re-
          ceived requisite trainings.
     97
          The vast majority of interviewed principals reported that the Legal Conference was useful, and
          many recommended that CPS extend the Legal Conference from one to two days.


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     recommend that CPS provide materials to principals, e.g., a straightforward Pow-
     erPoint presentation with simple bullet points and guidelines, copies of the rele-
     vant policies and guidelines, and several hypothetical situations for principals to
     discuss with their employees.98

     One training at the beginning of the year, however, is unlikely to ensure that peo-
     ple sufficiently understand these issues. CPS may need to encourage additional
     sessions during the year to refresh what employees learned in the beginning of
     the year and supplement that training with additional insights or updates. We un-
     derstand that CPS is developing additional trainings for employees on these topics
     with the help of the Chicago Children’s Advocacy Center and that CPS is planning
     for all employees to receive training from the OSP during the 2018/2019 school
     year.

     Further, as a more general recommendation, we believe it would be beneficial for
     CPS to provide principals with a checklist of additional mandatory topics to cover
     during fall professional-development days. Of course, principals need to exercise
     their own discretion in determining what topics to cover during this limited and
     valuable time, but there are certain universal topics that should be included. Many
     interviewed principals reported that they would find a checklist useful, as they
     were unclear which topics CPS required, or preferred, them to address during fall
     professional development beyond required teacher evaluation training (REACH).

     We recommend that all principals and employees annually receive a training spe-
     cifically geared towards understanding and implementing CPS policies and proce-
     dures regarding sexual misconduct and appropriate boundaries. Because of the
     sheer number of CPS employees, the most practical training method is likely an
     online webinar.99 Another benefit of online training is the ease of accountability,
     because participation and completion can be tracked electronically.

     CPS recently created a universal, district-wide employee handbook that includes
     CPS policies and procedures regarding appropriate boundaries and mandatory re-
     porting. We recommend that CPS continue to update this handbook as other pol-
     icies and procedures regarding sexual misconduct against students develop, in-
     cluding reporting structures.

               2.       Volunteer Training

     The vast majority of principals were not aware of any volunteer training that re-
     lated to appropriate boundaries or sexual misconduct. A few principals reported

     98
          CPS is also working with the Chicago Children’s Advocacy Center to develop training for princi-
          pals to deliver during this year’s fall orientation.
     99
          We understand that CPS intends to work with the Chicago Children’s Advocacy Center to de-
          velop web-based training. We recommend that the training has an interactive education com-
          ponent and certification after completion.


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     that they believed volunteers might receive some informal guidance on appropri-
     ate boundaries, but they did not know any more details.

     We recommend that volunteers also receive mandatory instruction as a compo-
     nent of the volunteer application regarding appropriate boundaries, including ap-
     propriate physical contact, electronic communication, social media, and transpor-
     tation. This training could also be conducted through an interactive online training
     rather than through an in-person training. CPS could hold volunteers accountable
     by refusing to approve the volunteer application until the volunteer completes the
     online training. To be clear, we believe that the OSP should oversee creation of this
     training rather than Family and Community Engagement.

     We do not recommend that this training be mandatory for Level Two volunteers.
     Level Two volunteers have minimal student contact, and this training may unnec-
     essarily deter them from participating in school activities.

            3.      Vendors

     We are not aware of any training requirements for vendors regarding sexual mis-
     conduct against students. We recommend that CPS require vendors that have sub-
     stantial student contact to complete an online training regarding appropriate
     boundaries and that CPS take appropriate steps to ensure accountability.

            4.      Students

     Most principals reported that their students did not receive any instruction or
     training relating to appropriate boundaries or how to respond if they are con-
     cerned about inappropriate conduct by an adult, other than general instruction to
     tell a trusted adult about any concerns. A minority of principals reported that dur-
     ing fall student orientation their students receive instruction regarding appropri-
     ate boundaries between adults and students. Even fewer principals reported that
     students are given periodic refreshers on appropriate boundaries. Some of these
     principals partnered with outside vendors to provide specific instruction to their
     students regarding appropriate boundaries between adults and students.

     At minimum, we recommend that CPS require all schools to include in their stu-
     dent handbooks (or in the Student Code of Conduct) a discussion of appropriate
     boundaries and ways to report inappropriate adult behavior.

     CPS should go further, and we understand that it is in the process of developing
     additional training sessions. We recommend that CPS provide students with age-
     appropriate instruction regarding appropriate boundaries between themselves
     and adults, including but not limited to school employees, and education for pre-
     venting, identifying, and reporting sexual misconduct to all grade levels. At mini-




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     mum, we recommend that some instruction occur during fall orientation. To en-
     sure that students actually receive instruction on appropriate boundaries and how
     to report potential misconduct, CPS should implement appropriate mechanisms
     to ensure accountability and keep records to reflect which students received an
     age-appropriate training.

     Because there is already some overlap and only so much time in a school year, CPS
     could include instruction on these issues in its Sexual Health Education curriculum.
     Currently, schools must instruct kindergarten through fourth grade students 300
     minutes per year on Sexual Health Education and fifth through twelfth graders for
     675 minutes per year.100 CPS reports that only 15% of schools meet these require-
     ments. In fairness, minutes requirements may not be the best metric for a success-
     ful Sexual Health Education program.

     As a further complication, parents and guardians are permitted to opt their chil-
     dren out of the Sexual Health Education curriculum. CPS may therefore want to
     conduct training regarding sexual misconduct separately. Parents who object to
     their children learning about safe sex may not object to their children being taught
     how to guard against predators. If CPS chooses to incorporate this training into the
     Sexual Health Curriculum, we recommend that it provide an alternative online
     training for those students whose parents opt them out of the Sexual Health Edu-
     cation curriculum, subject to a separate opt-out.101

     If CPS does incorporate training regarding sexual misconduct into its Sexual Health
     Education curriculum, we recommend that CPS re-evaluate the curriculum, iden-
     tify the most important aspects of the curriculum that students need to receive,
     and then make sure that they receive it.

                5.       Parents and Guardians

     Most principals told us that they do not offer training for parents or guardians re-
     garding sexual misconduct against students. While some principals provide some
     information regarding mandatory reporting requirements for CPS employees and
     contact information for support services in their school-specific parent and guard-
     ian handbooks, these handbooks are inconsistent.

     A handful of principals reported that they have general information sessions with
     parents that may cover CPS policies and procedures. At least one school has pro-


     100
           Principals reported varying levels of compliance with the mandate to teach Sexual Health Edu-
           cation, with some schools reporting that minimal, if any, instruction was provided, and other
           principals reporting that the minute requirements were satisfied through Sexual Health Educa-
           tion taught during health class, physical education class, biology class, or other methods.
     101
           Some schools may also receive waivers from the Sexual Health Education curriculum. We rec-
           ommend that these students also receive an online training.


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     vided trainings, including sessions in Spanish, for adults using methods the em-
     ployees learned from the Chicago Children’s Advocacy Center. Most principals said
     that it is difficult to get parents to attend these events and that the level of com-
     munity involvement depends on the community.

     We recommend that CPS find ways to educate and train parents on how to identify
     and report sexual misconduct against children, especially with the help of experts
     like the Chicago Children’s Advocacy Center. This approach must include, at mini-
     mum, parent and guardian handbooks that uniformly address these topics—or
     sufficient updates to the Student Code of Conduct—for all CPS communities and
     in all necessary languages.




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                          Reporting




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     V.     Reporting

     KEY RECOMMENDATIONS
     → Provide clear avenues for mandatory, optional, and anonymous reporting of
       actual and suspected sexual misconduct.

     → Clarify what type of conduct triggers mandatory reporting requirements, par-
       ticularly conduct that may be categorized as “grooming.”

     → Implement a system to report and track allegations and incidents.

     → Log and analyze data, identify trends, and regularly share this data with stake-
       holders, including the Chicago Board of Education.

     → Create a culture of reporting through transparency, due process, and clear un-
       derstandings of rights, responsibilities, and expectations, prohibiting retalia-
       tion for raising a concern or reporting an incident.

     → Train CPS employees on “information gathering” to address school issues and
       on filing effective reports without unnecessarily interrupting schools, re-trau-
       matizing victims, or jeopardizing future DCFS, CPS Inspector General, criminal,
       or Title IX investigations.

     → Provide administrators with a straight-forward reporting checklist with key
       contact information.



     A.     Title IX & Best Practices

     Reporting allegations and incidents of sexual misconduct quickly is essential to
     complying with Title IX, the success of investigations, providing assistance to vic-
     tims, stopping perpetrators, and preventing further misconduct. A well-designed
     system for tracking reports also allows data analysis to identify patterns, to im-
     prove methods, and to target issues that need specific attention.




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     Under Title IX and Illinois law, school employees must report sexual misconduct
     against students.102 In designing procedures to report incidents of sexual miscon-
     duct in a timely manner, experts and federal agencies recommend the following
     best practices:103

     ► Limited Initial Fact-Finding. The role of school employees who discover poten-
       tial sexual misconduct is “not to investigate or evaluate the alleged abuse, but
       to report the behavior which raised concern to those charged with conducting
       an investigation,”104 such as specially-trained Title IX employees or the CPS In-
       spector General.105 Therefore, if a child discloses sexual misconduct, school
       employees should be instructed to listen attentively and ask minimal fact and
       open-ended questions. It is acceptable to ask clarifying questions, but asking
       leading questions or pushing for information could both re-traumatize the
       child and compromise an investigation. School employees should convey that
       a parent or student disclosing sexual misconduct is believed and that the sex-
       ual misconduct is not the child’s fault. The DOJ-funded report, “A Case Study
       of K–12 School Employee Sexual Misconduct: Lessons Learned from Title IX
       Policy Implementation,” has cautioned that, although these investigations are
       usually well intentioned, district administrators often do not have the training
       to conduct investigations effectively and do not have the authority or
       knowledge to confiscate and protect key evidence. As a result, these internal
       investigations can interfere with child welfare or law enforcement investiga-
       tions. For instance, administrators’ investigative efforts can tip off an offender
       to likely law enforcement actions, prompting him or her to destroy important
       evidence or intimidate victims to keep them from providing testimony. The re-
       sulting loss of critical evidence can affect the ability of law enforcement to
     102
           Title IX requires “responsible employees” to report sexual misconduct. A responsible employee
           includes any employee who has the authority to take action to redress sexual violence, are
           required to report incidents of sexual violence, or whom a student reasonably believes has this
           authority or requirement. The White House Task Force to Protect Students from Sexual Assault
           noted that, “At the [primary] and secondary school level, this could include school administra-
           tors, school law enforcement personnel, and teachers and may also include bus drivers, cafete-
           ria staff, and other employees depending on the district’s practices and procedures.” Consider-
           ations for School District Sexual Misconduct Policies (September 2016), note 2 at 7, available at
           https://www.justice.gov/ovw/file/900716/download. Likewise, Illinois law requires “school
           personnel (including administrators and both certified and non-certified school employees)” to
           report sexual misconduct against students. 325 ILCS 5/4. See also, CPS Policy Manual § 511.1.
     103
           These recommendations are based on the following sources: U.S. Department of Education Of-
           fice of Safe and Healthy Students, A Training Guide for Administrators and Educators on Ad-
           dressing Adult Sexual Misconduct in the School Setting, 13, 17-18; White House Task Force to
           Protect Students from Sexual Assault, Considerations for School District Sexual Misconduct Pol-
           icies, 7-8; EduRisk, Educator Sexual Misconduct, 28-29; Magnolia Consulting, A Case Study of K–
           12 School Employee Sexual Misconduct, 37.
     104
           U.S. Department of Education Office of Safe and Healthy Students, A Training Guide for Admin-
           istrators and Educators on Addressing Adult Sexual Misconduct in the School Setting, 18.
     105
           We specifically include the CPS Inspector General here because that office has been tasked with
           investigating adult-on-student sexual misconduct.


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           prosecute a case, potentially allowing the offender to escape criminal conse-
           quences.

     ► Formal Reporting. CPS should provide and identify options to formally report
       suspected sexual misconduct. These options should include reporting to: (a) a
       “responsible employee” under Title IX, which will trigger the district’s obliga-
       tions to respond and investigate under Title IX; (b) child protective services; (c)
       law enforcement; (d) state education officials that certify and license educa-
       tors; and for CPS, (e) the CPS Inspector General.106 Policies and distributed ma-
       terials should explain how each option works, including how to make a report
       for each option, and provide contact information for doing so.

     ► Alternative Reporting. CPS may also consider providing and identifying alter-
       natives to formal reporting for students, parents, and guardians. These may
       include: (1) informal processes, which may entail site-level investigation and
       resolution, but should include mechanisms for reporting and tracking incidents
       under Title IX; or (2) privileged or confidential resources, which could allow
       students, parents, and guardians to seek assistance without triggering a dis-
       trict’s obligation to investigate under Title IX. A district should take care to ex-
       plain in its policies what information will be kept confidential and what infor-
       mation may be disclosed, to whom it will be disclosed, and why. A district
       should also explain when it can and cannot honor a request that a student’s or
       employee’s name not be disclosed to the alleged perpetrator or that no inves-
       tigatory or disciplinary action be taken. The district should also identify the
       employee or employees responsible for evaluating such requests for confiden-
       tiality or no action. In short, a district’s policy should allow a student, parent,
       or guardian to understand an employee’s reporting obligation before he or she
       reveals any information to that employee.

     ► Anonymous and Confidential Reporting. CPS should provide procedures for
       addressing anonymous complaints, or situations where a complainant re-
       quests confidentiality (noting that a report to law enforcement or child protec-
       tive services may still be required). Recognize that in these situations, after
       complying with mandatory reporting requirements, a district may address al-
       leged sexual misconduct and strengthen its prevention efforts without initiat-
       ing formal action against an alleged perpetrator by, for example: providing in-
       creased monitoring, supervision, or security at locations or activities where the
       misconduct occurred; providing training and education materials for students
       and employees; revising and publicizing the district’s policies on sexual mis-
       conduct; and conducting student, parent, and employee climate surveys re-
       garding sexual misconduct.


     106
           As referenced above, we specifically include the CPS Inspector General here because that office
           has been tasked with investigating adult-on-student sexual misconduct.


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     ► Supervisor Notification. CPS policy should indicate whether the responsible
       employee or mandated reporter should inform his or her supervisor(s).

     ► Track Incidents. CPS should create a system to report and track incidents and
       complaints. At minimum, the following information should be collected as an
       initial report progresses through resolution: the date of the incident or inci-
       dents; the names and ages of the children involved; a description of what hap-
       pened; actions or statements by the children; actions or statements by the al-
       leged offender; a statement as to how and whether the incident was resolved;
       a list of witnesses and their contact information; and the name of person to
       whom the report is submitted.

     ► Encourage Reporting. School employees may be concerned about reporting a
       colleague’s suspected misconduct for fear of making a false accusation. Policies
       can address this concern by stressing that the purpose of reporting is to ensure
       that everyone is aware of what is going on for the protection of the child as
       well as the employee, and reporters are expected to act in good faith on sus-
       picions, not certainty. Policies should also prohibit the making of knowingly
       false complaints by students and employees, and provide for appropriate con-
       sequences.

     ► Consider Amnesty. Where doing so would promote reporting and investiga-
       tion of sexual misconduct, CPS should consider whether to grant amnesty for
       a violation of other discipline or student-conduct policies not related to sexual
       misconduct. Policy should outline the circumstances under which such accom-
       modations may apply.

     ► Prohibit Retaliation. CPS reporting policies should prohibit retaliation against
       those who file a complaint (including third parties) or otherwise participate in
       the investigatory or disciplinary process (e.g., as a witness), provide a process
       to report such retaliation, and provide for consequences if retaliation occurs.

     ► Notification Checklist. Once updated reporting policies are in place, they must
       be clearly communicated to school employees, vendors, volunteers, students,
       parents, and guardians. For school employees, it is helpful to include require-
       ments about how soon a report should be made, as well as the consequences
       for not reporting. Providing a booklet or quick-reference guide is good practice.
       Such a reference guide can also provide information about responding to an
       incident or complaint, such as contact information for trained resources (both
       within the district and in the community) who can provide an immediate re-
       sponse to a crisis (e.g., obtain needed resources, explain reporting options, and
       help navigate the reporting process).




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     B.         CPS Reporting Processes

     This section addresses the current reporting structure when a CPS employee
     learns of potential violations of the boundaries policy or sexual misconduct. The
     administrators we interviewed uniformly understood that they, and all school em-
     ployees, are mandated reporters. Some principals report that their school-specific
     employee handbooks include a section on mandatory reporting that they review
     with their employees at least annually, usually during orientation or “professional
     development” days at the beginning of each school year. Many principals, how-
     ever, were not confident that teachers and other employees understand their ob-
     ligations and believed that their employees were reluctant to report signs of abuse
     or neglect to DCFS themselves—preferring that the principals do it.

     Unfortunately, however, most principals view their obligations solely through the
     lens of a mandated reporter, and we found a lack of a uniform understanding as
     to what constitutes “abuse or neglect” and what other actions are required or ap-
     propriate under various circumstances.

     In June 2018, CPS adopted a new policy for the Reporting of Child Abuse, Neglect,
     and Inappropriate Relations Between Adults and Students to provide a compre-
     hensive framework for the reporting of suspected abuse or neglect, the documen-
     tation of such incidents, and the steps that should be taken after each reported
     incident to support the victim(s) and the mandated reporter. This policy, if effec-
     tively implemented, should provide uniform guidance to CPS employees and rem-
     edy many of the discrepancies in the practices for reporting and documenting sex-
     ual misconduct that has previously existed throughout CPS.

                1.      Mandatory Reporting of Suspected Abuse or Neglect

     As noted, in accordance with the Illinois Abused and Neglected Child Report-
     ing Act, it is the policy of CPS that all school employees are “mandated report-
     ers.”107 Any mandated reporter who has reasonable cause to believe that a child
     known to him or her in his or her official capacity as a CPS employee may have
     been abused or neglected shall immediately call the DCFS Hotline.

     CPS’ current policy makes clear that “abuse,” for purposes of the mandated report-
     ing obligation, includes both physical and sexual abuse, as well as “grooming.”
     Grooming is defined in the policy as behavior intended to gain a child’s “trust and
     break down inhibitions for the purpose of sexual abuse.”108 Before June 2018,
     however, CPS’ policy for the Reporting of Child Abuse and Child Neglect did not
     mention “grooming” or otherwise make clear that acts that did not constitute ac-
     tual sexual offenses still had to be reported to DCFS.

     107
           325 ILCS 5/1 et seq.
     108
           CPS Policy Manual § 511.1 (updated June 27, 2018).


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      But CPS still needs to clarify its definition of “grooming,” for the purposes of man-
      datory reporting. Under the policy’s current broad definition, innocuous, or even
      beneficial behavior—such as tutoring and mentoring—may appear to be grooming
      behaviors to a third-party. While there are clear cases of grooming, such as “sex-
      ting,” many cases are not clear, and CPS needs to balance the interests of protect-
      ing all children from sexual misconduct with the need to provide them with the
      resources and support necessary to receive an education and grow into a well-
      rounded adult. It is not enough to say that this balance should be completely on
      the side of protecting children, or else we would not allow children to ever come
      into contact with other students or adults. But CPS should err on the side of cau-
      tion by encouraging over-reporting. Ideally, most reports of improper contact will
      prove not to involve grooming or abusive behavior, but they will be flagged,
      logged, and analyzed for trends in a way that does not automatically trigger re-
      moval or disciplinary action.

      While nearly every administrator we interviewed has personally reported, or as-
      sisted another employee in reporting an incident of suspected abuse or neglect to
      DCFS at some point in their career, there is a significant disparity in the frequency
      with which administrators encounter situations that trigger their mandatory re-
      porting obligations. Because the vast majority of such incidents involve suspected
      neglect (e.g., homelessness or malnutrition) or non-sexual abuse, employees from
      schools in lower socio-economic neighborhoods may contact DCFS several times a
      month, while employees in other schools may go years without observing some-
      thing that would trigger their reporting obligation.109 Both extremes of this con-
      tinuum suggest the need to adequately train, and regularly remind, all mandated
      reporters of the scope of their obligations. An employee who frequently encoun-
      ters neglected children, for example, may be less likely to recognize a distinct sign
      of abuse, while an employee who has not had to even consider his or her reporting
      obligation in years may be overly hesitant to identify behavior that would trigger
      a reporting obligation.

      As noted in the previous section, we recommend that all mandated reporters un-
      dergo annual training, in addition to the required DCFS online training, to recog-
      nize the signs of grooming and to understand the scope of their obligations as
      mandated reporters and their obligations under CPS policy.110


      109
            We note that some cultures may have differing views on appropriate conduct, such as the line
            between child discipline and child abuse. CPS employees would also benefit from training or
            resources that address these nuances to help ensure uniformity.
      110
            It is worth noting that some administrators said that DCFS is understaffed, has a slow turn-
            around time, and as a result, will often find allegations unfounded that administrators believe
            warrant investigation. We have not had the time to evaluate these claims or to hear from DCFS.
            For these reasons, among others, we intend to contact DCFS for more information. While we
            do not take a position on these claims, CPS should not—and there is no indication that it has—
            view DCFS reporting alone as a sufficient response to sexual misconduct allegations.


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             2.      Reporting of Suspected Abuse or Neglect to CPS Supervisor

      CPS’ current policy for the Reporting of Child Abuse, Neglect and Inappropriate
      Relations Between Adults and Students requires a mandated reporter to notify his
      or her principal or supervisor of the report after calling the DCFS Hotline. This pol-
      icy, enacted in June 2018, represents a significant change from the prior policy,
      which provided only that a mandated reporter “may choose to inform his/her su-
      pervisor” of the report.

      Many, but not all, of the principals we interviewed stated that they have instructed
      their employees to inform them of any DCFS reporting. Those who have not previ-
      ously required such notice cited a desire to protect the confidentiality of the man-
      dated reporter and a preference to let the reporter decide whether to notify the
      principal about the incident. The vast majority of interviewed principals reported
      that they were unaware of a time when an employee notified DCFS of suspected
      abuse or neglect and did not also inform the principal before or after—although
      principals may not necessarily be in a position to know if this occurred.

      We endorse the current policy to notify the principal or supervisor. Any incident
      serious enough to prompt a mandatory report to DCFS is serious enough to bring
      to the attention of the principal, who, in turn, is required to document the incident
      in CPS’ incident-reporting system (Verify). CPS is in the process of moving to a new
      reporting system, called Aspen, by January 2019. In addition, the new policy re-
      quires employees who observe “inappropriately intimate interaction or behaviors”
      to report that conduct to their principal or supervisor even if they conclude they
      do not have a mandatory reporting obligation because the conduct did not give
      rise to a “reasonable suspicion” that sexual misconduct occurred. The principal, in
      turn, must decide whether reporting is required and must document the report of
      inappropriate conduct in Verify. Such reporting within CPS will facilitate the inves-
      tigation by the proper authority—such as law enforcement, the CPS Inspector Gen-
      eral, or the CPS Office of Student Protections and Title IX (OSP).

      We further recommend that CPS create alternative mechanisms to permit employ-
      ees, students, parents, guardians, or others to report suspected incidents or inap-
      propriate behaviors directly to the CPS Inspector General or the OSP. CPS is in the
      process of working out the logistics for the new reporting structure with relevant
      stakeholders, including law enforcement and the CPS Inspector General. When the
      process is resolved, CPS will provide the CPS community with an email address (or
      addresses) and a phone number (or phone numbers) to report allegations of abuse
      or neglect. There is already such a hotline in place for reporting concerns about




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      suspected gun violence. Additional training and promoting—including a notifica-
      tion checklist—will likely be required to ensure that all stakeholders are aware of
      the new alternative reporting mechanisms and how to use them.111

      C.         Initial Information Gathering

      In our interviews with principals, the vast majority were unaware of what CPS pol-
      icy was on the “information gathering” process. The principals’ responses to what
      they have done or would do in response to initial allegations were inconsistent and
      often involved far more than the sort of initial information gathering contemplated
      by best practices. The CPS Crisis Management Manual, for example, only recom-
      mends that, currently untrained, principals “conduct a brief fact-finding inquiry
      with the alleged victim, the alleged offender, and any witnesses.”112

      To report allegations and incidents, administrators must know how to gather infor-
      mation, internally and externally. This initial information gathering is extremely
      important and sensitive; care must be taken to balance several competing inter-
      ests. A principal must gather some information before knowing how to report it.
      Principals must ensure the safety of their students and employees—and the ongo-
      ing administration of the school—and therefore, many principals feel compelled
      to move quickly after learning of serious allegations. At the same time, to avoid
      interfering with the investigatory process, principals must not interrogate victims,
      witnesses, or perpetrators.

      Most administrators expressed confusion and concern about how new policies and
      processes will affect the more frequent instances of misconduct in schools. Ac-
      cording to these administrators, the vast majority of potential misconduct at
      schools does not involve issues of sexual misconduct. But, partially in fear of losing
      their jobs, these administrators expressed confusion about how they should or will
      handle some of the more common situations moving forward.

      We recommend that CPS provide training to OSP coordinators and principals on
      this “information gathering” process so that a principal can be better informed
      when a situation arises. CPS will also need to update its Crisis Management Man-
      ual—and other guidelines, policies and procedures—to reflect best practices.

      D.         Records of Sexual Misconduct

      As indicated above, when a mandated reporter notifies a principal of a call to DCFS’
      hotline, or inappropriate conduct that was not reported to DCFS, the principal is

      111
            In some instances, someone may not feel comfortable reporting to a principal. This is one of
            many reasons why the OSP will be so important moving forward.
      112
            CPS, Crisis Management Manual (2012), 93-94. CPS will need to update this policy in accord-
            ance with other policies and best practices. See e.g., id. at 91 (“The employee does not have to
            notify his/her supervisor of the Hotline call.”).


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      required to complete an incident report and, subsequently, to ensure that the writ-
      ten confirmation received by the mandated reporter is uploaded to the incident-
      reporting system.

      CPS’ current incident-reporting system is Verify, which we understand has been in
      use since 2010. CPS plans to migrate its incident reporting function to a new sys-
      tem in January 2019. Were CPS not already committed to replacing Verify, we
      would devote more space to suggested improvements to the Verify system, which
      is almost universally viewed by principals as cumbersome and inefficient. In short,
      Verify is a menu-based system that allows administrators to choose from a menu
      of various types of possible incidents, choose from a series of check-boxes to des-
      ignate whether certain things happened in a given incident, and enter a narrative
      description of the incident. Verify contains certain triggers that will provide elec-
      tronic notifications to other CPS employees if certain parameters are met, or cer-
      tain boxes are checked, in the report.

      We found a marked disparity among principals as to how they use and understand
      the Verify system. As an initial matter, many principals, especially those in second-
      ary schools and larger schools, choose to delegate all, or a subset, of their incident
      reporting responsibilities to an assistant principal, dean, or clerk. Many, but not
      all, principals receive email notices of each incident report entered by a colleague;
      none seem aware of a setting or option that lets them choose which type of re-
      ports to receive and which not to receive. Regarding what they enter, or instruct
      others to enter, into the Verify system, many principals initially stated that they
      want “everything” entered into Verify. When pushed to explain what “everything”
      entails, however, no principal could point to any policy or manual that contains
      such guidance, and practices seemed to vary significantly.

      The new policy, if appropriately communicated to principals, should help clarify
      the requirement and ensure that documentation is made in the incident-reporting
      system of each incident of actual or suspected sexual misconduct. We recommend
      that CPS create and distribute to principals a notification checklist that describes
      in one page the notification steps after learning of potential misconduct.113

      In implementing the new incident-reporting system that will replace Verify, CPS
      must carefully design the system to reflect the logic of its policies for the reporting
      of various types of incidents. The menu structure should differentiate between
      neglect, physical abuse, sexual abuse, grooming, and inappropriate behavior; and
      within each category of incidents the system should differentiate between conduct

      113
            Cf. New York City Department of Education, Quick Guide for School Administrators & Counselors
            Reporting Suspected Child Sexual Abuse (2017), available at http://text.nycenet.edu/NR
            /rdonlyres/3479BD4A-243B-4A79-BBF9-CD6FE2BDE080/0/GREENCARDTheQuickGuide.pdf;
            and Berkeley Public Schools, Harassment Handoff Card (2016), available at http://www.berke-
            leyschools.net/wp-content/uploads/2015/03/Harassment-Handoff-Card-16-17-FINAL.pdf.


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      involving adults and conduct solely between children.114 The reporting system
      should always reflect and reinforce CPS’ protocol for the reporting of such events
      by, for example, reminding a person entering information about any type of sus-
      pected abuse of a child that DCFS must be called immediately, and requiring the
      user to check a box indicating that DCFS has been called before proceeding with
      the report. The system should contain similar prompts and, where possible, auto-
      matic triggers, to ensure that appropriate officials are promptly notified, including
      but not limited to law enforcement, the CPS Inspector General, the OSP, CPS’
      Safety and Security Department, the school principal or network chief, and a stu-
      dent’s parent or guardian. The system should permit users to log incidents that are
      not considered disciplinary violations or “misconduct,” to encourage the reporting
      of acts that are potentially innocent or inadvertent.

      A properly designed incident-reporting system will help administrators correctly
      implement CPS’ policies for the reporting of abuse and neglect. We found that ad-
      ministrators currently cannot rely on the Verify system to notify DCFS, law enforce-
      ment, or other CPS officials of incidents, nor did they have ready access to any
      written protocol or policy that specifies who should be notified of various possible
      incidents. In the absence of such guidance, administrators are often left to exercise
      their individual judgment as incidents occur. While many administrators say that
      they frequently call the Law Department or the network office for advice about
      how to respond to incidents, the current practice is overly reactive and invites in-
      consistencies in the reporting, documentation, and response to incidents. A more
      robust incident-reporting system should help standardize the documentation of
      various incidents, ensure that proper reporting occurs, and facilitate CPS’ re-
      sponse.

      Likewise, CPS should make sure that its new incident-reporting system has the ca-
      pability to store and analyze data and a robust function to generate custom reports
      based on that data. This functionality can help CPS identify repeated conduct by a
      specific person, or a trend at a particular school, that could inform its prevention
      and response methods for future incidents. An effective reporting function should
      also help principals, networks chiefs, the Central Office, and the Chicago Board of
      Education monitor the number and type of incidents, react to trends, and hold
      appropriate people accountable for investigating and responding to incidents.
      Without adequate data, CPS and the City of Chicago are left with conjecture and a
      series of prominent instances when CPS did not protect its students.




      114
            The system should also include any other fields that the CPS Inspector General or the OSP deem
            necessary.


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      VI.    Investigations

      KEY RECOMMENDATIONS
      → Ensure trained and impartial experts conduct investigations, interviews, and
        interrogations.

      → Train administrators on how to handle and preserve evidence.

      → Coordinate with all investigatory authorities and relevant entities to make in-
        vestigations more efficient and minimize victim interviews.

      → Include a children’s advocate at victim interviews.

      → Clarify standards for when to remove employees from a school pending an in-
        vestigation.



      This summer, CPS recognized that there were flaws in its process for investigating
      allegations of sexual misconduct, including the appearance of conflicts of interest
      involving its investigators. Shortly after the Chicago Board of Education (Board)
      hired Ms. Hickey, it transferred the responsibility for future investigations of adult-
      on-student sexual misconduct to the CPS Inspector General from the CPS Law De-
      partment’s Investigations Unit. After further consultation with Ms. Hickey, CPS also
      announced that it would transfer future investigation of student-on-student sexual
      misconduct allegations from the CPS Law Department to the new Office of Student
      Protection and Title IX. The Board also gave the CPS Inspector General the author-
      ity to review all CPS Law Department Investigations Unit cases involving allegations
      of adult-on-student sexual misconduct since at least 2000.

      Because of these developments, our discussion of CPS Law Department’s Investi-
      gations Unit is more limited than it might otherwise have been. We begin with
      explaining best practices and making general recommendations for Title IX inves-
      tigations. Many of these best practices also apply to investigations by the CPS In-
      spector General. We also describe below the historical investigations process, de-
      ficiencies in that process, and the evolving current approach to investigations, and
      we provide further recommendations.

      A.     Title IX & Best Practices

      Title IX does not allow a school district to delegate its obligation to investigate in-
      cidents to law enforcement or child protective services, so CPS must develop its
      own strong, sound investigative policies and practices. Indeed, in certain cases the
      district is the only entity that has investigative authority, e.g., when a student vic-




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      tim is over the age of 18. In those cases, child protective services cannot investi-
      gate, and unless the conduct is criminal, neither will the police. In designing pro-
      cesses to investigate incidents of sexual misconduct, experts and federal agencies
      recommend the following best practices115:

      ► Impartiality. The people who conduct the investigations, or decide the out-
        come of complaints, should be trained and impartial. Processes should permit
        parties to raise issues potential conflicts of interest.

      ► Training. Investigations must have capable investigators. As a result, the Title
        IX Coordinator and designated school-based employees must be trained regu-
        larly in Title IX compliance. These people must know and understand the dis-
        trict’s policies and procedures regarding sexual misconduct, as well as Title IX
        grievance processes and procedures. These people should also continue peri-
        odic training to stay up-to-date on developments in Title IX law and the dis-
        trict’s compliance obligations.116

      ► Clear Processes. Policies and procedures should include clearly defined inves-
        tigative protocols and should consider whether investigative protocols should
        differ for incidents involving particular student populations, such as very young
        children or students with disabilities.

      ► No Mediation. Because mediation is never appropriate in sexual-misconduct
        cases, complainants should not be required or asked to work out issues directly
        with an alleged perpetrator.

      ► Preservation of Evidence. Protocols for preserving evidence should be clearly
        defined. For example, CPS should consider (perhaps in consultation with law
        enforcement) the circumstances under which a student’s or alleged perpetra-
        tor’s cell phone may be seized.

      ► Protection and Victim Services. Policies should explain the steps a district may
        take to protect complainants while an investigation is pending. These steps
        may include altering academic or bus schedules for either the complainant or
        the alleged perpetrator, changing locker locations, allowing the complainant to
        withdraw from or retake a class without penalty, providing an escort to ensure


      115
            See U.S. Government Accountability Office, Child Welfare, 34-35; U.S. Department of Education
            Office of Safe and Healthy Students, A Training Guide for Administrators and Educators on Ad-
            dressing Adult Sexual Misconduct in the School Setting, 18; White House Task Force to Protect
            Students from Sexual Assault, Considerations for School District Sexual Misconduct Policies, 8-
            9.
      116
            See EduRisk, Title IX Compliance in K-12 Public Schools: Key Steps to Compliance (2015), 10,
            available at https://www.ue.org/uploadedFiles/Title%20IX%20and%20Sexual%20Harassment
            %20in%20K-12%20Public%20Schools.pdf.


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            that the complainant can move safely between classes or other activities, and
            providing tutoring or additional academic support.

      ► Investigators. Title IX investigators and fact finders must be trained on all as-
        pects of Title IX compliance, as well as best practices for investigating com-
        plaints that are sent to the Title IX Office.

      ► Length of Investigation. Policies should include timeframes for the major
        stages of the process, including the time by which CPS must conclude an inves-
        tigation and issue notice of the outcome.117

      ► Evidentiary Hearings. The policy should provide for equitable treatment of the
        parties during the investigative process, such as an equal opportunity for both
        parties to present witnesses and other evidence. The policy should select and
        explain the standard of proof—such as preponderance of the evidence—that
        will be applied in determining the outcome of the investigation and in related
        proceedings.

      ► Potential Punishments and Remedies. The policy should describe the poten-
        tial remedies, which may include sanctions; accommodations for the com-
        plainant; rehabilitative treatment or counseling for the perpetrator; and addi-
        tional remedies for the school community.

      ► Written Notice to the Parties. Procedures should set out how parties will be
        given written notice of the outcome and the option to appeal, if applicable. If
        a district permits appeals, its policies should specify the grounds for appeal,
        standards of review, the person or entity that will decide appeals, and the
        timeframes for the process. The policy should specify how the district will in-
        form the complainant as to whether it found that the alleged conduct oc-
        curred, any individual remedies offered or provided to the complainant, any
        sanctions imposed on the perpetrator that directly relate to the complainant,
        and other steps the district has taken to eliminate the hostile environment and
        prevent recurrence.

      ► Community Notice. Districts should also have procedures to notify the school
        community about incidents and the district’s responses while affording appro-
        priate confidentiality and other protections to the parties.

      ► Memoranda of Understanding. Investigation policies should address coordi-
        nation between a district’s independent investigative agency, the prosecutor’s
        office, law enforcement, child protective services, children’s advocacy centers,
      117
            Under now-rescinded Obama-era guidance, sixty days was the standard timeframe for com-
            pleting an investigation. See U.S. Department of Education Office for Civil Rights, September
            2017 Q&A on Campus Sexual Misconduct, 3, available at https://www2.ed.gov/about/of-
            fices/list/ocr/docs/qa-title-ix-201709.pdf.


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           local advocacy groups, community programs regarding sexual misconduct, and
           other relevant agencies. CPS should consider entering into memoranda of un-
           derstanding (MOUs) that specify how the district and other agencies will share
           information, and outline policies to minimize additional harm to the victim.
           The MOUs should state that the district has the right, and usually the obliga-
           tion, to investigate while a criminal or child-protection investigation is proceed-
           ing.

      B.      CPS Law Department’s Investigations Unit

      Before mid-2018, the Investigations Unit within CPS’ Law Department investigated
      allegations of sexual misconduct, along with other forms of employee and student
      misconduct. The Investigations Unit’s size varied slightly over time but currently
      consists of a Manager of Investigations, two full-time investigators, six part-time
      contract investigators, two part-time investigative aides, and one administrative
      assistant. The Investigations Unit is heavily reliant on contractor employees and
      engages three investigative vendors. The Investigations Unit investigates incidents
      that are reported through CPS’ Verify system. Verify reports include incidents that
      are much broader than sexual misconduct, including general student and em-
      ployee misconduct. On average, the Investigations Manager reviews 200 emails a
      day generated by the Verify reporting system in response to a broad range of al-
      leged employee misconduct and negligence.

      As generally described by the CPS Law Department, the process to investigate an
      allegation against a student was as follows:

      ► If the immediate initial assessment by the Law Department investigators re-
        vealed a serious child-abuse allegation, then investigators notified attorneys in
        the Employee Discipline Unit and School Law Unit of the Law Department;

      ► Investigators went to schools to conduct interviews for serious allegations, ob-
        tain witness statements, review documents, review video surveillance, and
        gather social-media information as allowed by law;

      ► The Law Department investigator coordinated the investigation with law-en-
        forcement agencies and DCFS, which cooperated and shared information;

      ► Investigators were trained to review and report the entire process to Central
        Office, DCFS, and the Chicago Police Department; and

      ► A final investigative report was sent to the Board attorneys in the Law Depart-
        ment’s Employee Discipline Unit to implement disciplinary action, if necessary.




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      We identified several problems in the CPS Law Department Investigations Unit pro-
      cesses that are still relevant, despite the fact that the CPS Inspector General’s of-
      fice and the Office of Student Protections and Title IX will handle future investiga-
      tions of sexual misconduct. 118

      First, the Investigations Unit is understaffed, even if it no longer has responsibility
      for handling the sexual-misconduct investigations, because of a lack of adequate
      funding. As noted earlier in this section, the Investigations Unit is composed of a
      Manager of Investigations, two full-time investigators, six part-time contract inves-
      tigators, two part-time investigative aides, and one administrative assistant. The
      Investigations Unit also contracts with vendors to perform investigations. These
      few full-time employees and contractors are responsible for investigating all in-
      stances of misconduct that occur within all CPS schools.

      Consider the monumental nature of this task: During the 2016-17 school year, over
      7,500 Verify reports were reviewed and analyzed by the Investigations Unit, in-
      cluding over 2,300 “DCFS Contacted Notification Emails,” over 1,600 “Sexual Har-
      assment Notification Emails,” over 1,600 “Employee Misconduct Notification
      Emails,” and over 1,500 “Student/Staff Altercation Notification Emails.”119 To be
      clear, the actual number of incidents is fewer than the 7,500+ Verify reports, be-
      cause multiple reports sometimes refer to the same incident. Nonetheless, absent
      additional funding, the Investigations Unit is likely to continue to remain under-
      staffed.

      Second, the Investigations Unit and vendor investigators are not uniformly or ad-
      equately trained. Although the employees and vendors are well intentioned, the
      lack of formal training creates inconsistencies in the investigation process.

      Third, the Investigations Unit relies too heavily on contract employees and outside
      investigative vendors to do the investigations rather than on full-time CPS profes-
      sionals. This is a direct outgrowth of insufficient funding allocated to the Investi-
      gations Unit. In our opinion, there is no reasoned explanation, other than resource
      limitations, for the extensive reliance on vendors.

      Fourth, the Investigations Unit’s documenting and tracking of incidents is anti-
      quated and deeply flawed. The Investigations Unit relies on an Excel spreadsheet
      to track cases and investigations. The way that data is managed and tracked makes
      any sort of meaningful analysis nearly impossible to conduct. CPS must invest in a
      case management system that will allow the Investigations Unit to track cases, run

      118
            To be clear, the Investigations Unit will still be responsible for investigating incidents other than
            sexual misconduct moving forward.
      119
            CPS determined these numbers after the Betrayed series, and this data was not at anyone’s
            fingertips at CPS. The Verify reports were not uniformly entered, and CPS did not have the
            proper controls to run such reports at the push of a button. This is one of the many reasons no
            one recognized the full scope of sexual misconduct at CPS.


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      reports, and perform meaningful data analysis. Ideally, the forthcoming Aspen
      software program should integrate smoothly with the Investigations Unit’s case
      management system.

      Fifth, although CPS has some interagency agreements with other entities, there
      are not the type of comprehensive memoranda of understanding that would min-
      imize unnecessarily redundant questioning of witnesses and facilitate properly co-
      ordinated investigations.

      Sixth, because the CPS Law Department was responsible for both investigating al-
      legations of sexual misconduct and also defending CPS in civil proceedings against
      suits brought by alleged victims, there was the appearance that it had a conflict of
      interest in fulfilling both of these roles.

      Seventh, the Investigations Unit, and CPS as a whole, failed to appropriately review
      and consider the causes of specific sexual-misconduct incidents and take correc-
      tive action to prevent future incidents.

      C.     Investigations and Disciplinary Process for Employees

      After it investigates alleged sexual misconduct, CPS must determine whether dis-
      cipline is warranted, including termination. The CPS Law Department’s Employee
      Discipline Unit handles dismissal proceedings. The precise process for dismissals
      varies by employee category because of varying contractual terms and due process
      requirements:

      ► The CEO may dismiss probationary employees in non-teaching positions by a
        letter without a hearing or Board approval;

      ► CPS may dismiss probationary appointed (non-tenured) teachers after an in-
        vestigatory conference in the Office of Employee Engagement, if the CEO rec-
        ommends dismissal and the Board approves;

      ► CPS may dismiss non-teachers who have completed their probationary period
        after an evidentiary hearing in the Office of Employee Engagement, if the CEO
        recommends dismissal and the Board approves (the employee’s union may
        contest a dismissal decision in grievance-arbitration); and

      ► CPS may dismiss tenured teachers after an evidentiary hearing before an Illi-
        nois State Board of Education Hearing Officer. The tenured teacher may appeal
        a dismissal determination to the Illinois Appellate Court.

      Dismissal hearings based on sexual misconduct are particularly challenging for a
      number of reasons. First, when a child’s testimony is required, care must be taken
      to ensure that the child is not further traumatized by testifying. Second, parental



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      consent is needed for the child to testify. Third, children can be challenging wit-
      nesses. Fourth, the general nature of the allegations lends itself to a strenuous
      defense, which can include cross-examination of the child’s credibility. Fifth, as
      with any dismissal hearing, employees have due process rights that must be ac-
      counted for and respected.

      D.         Ensuring Student Safety Beyond the CPS District

      CPS also faces a related issue, which is ensuring that a CPS employee who resigns
      or is dismissed amidst allegations of sexual misconduct is not rehired into another
      district within Illinois or elsewhere. The Illinois State Board of Education (ISBE) is
      responsible for licensing teachers, substitute teachers, and paraprofessionals.
      Since July 1, 2009, the Illinois School Code has required that school districts pro-
      vide written notice to ISBE when there is reasonable cause to believe that a certif-
      icate holder has committed an intentional act of abuse or neglect of a child and
      the action caused the certificate holder to resign or be dismissed.120 This law ap-
      plies only to “certificated”—that is, licensed—employees; non-certificated em-
      ployees are not covered.

      CPS has struggled to implement this law. We are informed by the CPS Law Depart-
      ment that in 2015 it sent a batch of notification letters to ISBE when the Board
      discovered it had failed to notify ISBE of probationary employees and substitute
      teachers who were covered by the law because they are “certificated” employees.
      Additionally, in 2017, CPS sent a second batch of notification letters to ISBE after
      realizing that timely notices had not been sent due to a change in personnel at the
      Board.

      We have not completed our evaluation regarding CPS’ compliance with the ISBE
      notification requirement or our analysis regarding additional procedures that CPS
      might adopt to ensure that a teacher who resigns under a cloud of sexual miscon-
      duct allegations is not able to transfer districts. We suspect that improvements can
      be made. Ms. Hickey is still evaluating these issues.

      CPS must also provide guidance to principals on what they are permitted and not
      permitted to say when someone from another district calls about a reference
      check. CPS of course must comply with applicable law and also operate to mini-
      mize its liability in responding to reference check inquiries. But CPS should take
      steps to disclose information about sexual misconduct within the confines of the
      law so that students outside of CPS are also protected.

      It should be noted that Illinois already provides immunity to former employers
      when they provide written disclosures of information regarding an employee or


      120
            See 105 ILCS 5/10-21.9


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      former employee’s job performance or work-related characteristics that the em-
      ployer in good faith believes is truthful.121 CPS should consider specifically disclos-
      ing information regarding sexual misconduct if the reference check is accompanied
      by a release of claims or waiver and an authorization form signed by the current
      or former employee.

      We recommend that CPS further explore enacting a formal policy requiring that if
      a principal is contacted by a prospective employer regarding a candidate who has
      been accused of serious misconduct, the principal must refer the prospective em-
      ployer to the Law Department so that CPS can make appropriate disclosures while
      ensuring that it complies with substantive law and minimizes CPS’ legal risk.

      We further recommend that CPS consider centralizing the response to incoming
      reference checks from other districts in a single department rather than having
      individual principals handle reference checks. To minimize liability while incentiv-
      izing disclosure, we also recommend that CPS consider requiring that an incoming
      reference check be accompanied by a waiver or authorization form.

      In short, if CPS fires an employee or accepts a resignation amidst allegations of
      sexual misconduct, those actions may protect CPS students from further sexual
      misconduct, but more needs to be done to ensure that problem employees are
      not rehired elsewhere. To be clear, we are not recommending that an employee
      be blacklisted anytime an allegation of sexual misconduct occurs. Instead, we rec-
      ommend that CPS make appropriate disclosures so that a prospective employer is
      fully aware of previous allegations and any findings.

      E.         Ongoing Changes and Specific Recommendations

      During the summer of 2018, CPS announced that the CPS Inspector General’s of-
      fice will be taking over investigations of incidents involving adult-on-student sexual
      misconduct. The new Office of Student Protections and Title IX will handle investi-
      gations of student-on-student sexual misconduct. As of the date of this preliminary
      report, CPS is finalizing policies and procedures to effectuate this division of re-
      sponsibility. Ms. Hickey was involved, and remains involved, with these decisions
      and the implementation of these changes. In our opinion, it is crucially important
      that CPS establish a clear intake process to ensure that incident reports and alle-
      gations—including anonymous and confidential allegations—be promptly steered
      to the appropriate investigating entity.

      As of this preliminary report, CPS is still finalizing how to minimize repeated inter-
      views of victims through memoranda of understanding and ensuring that a chil-



      121
            See 745 ILCS 46/1 et seq. A slight majority of states have similar statutes immunizing employers
            from liability for disclosures during reference checks.


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      dren’s advocacy representative is present during victim interviews. CPS has indi-
      cated that it will use trained investigators to conduct interviews and will create
      procedures to prevent CPS students from being interviewed repeatedly. These ef-
      forts are in line with the best practices recommended by experts and federal agen-
      cies. As the U.S. Government Accountability Office has explained,

                 Because different agencies can be involved with investigating re-
                 ports of alleged child sexual abuse or misconduct by school employ-
                 ees for different reasons, each of the agencies’ particular goals may
                 lead to potential interference with another agency’s investiga-
                 tion . . . Specifically, conflicting missions can lead to subjecting chil-
                 dren to multiple interviews, not sharing reports, and prematurely
                 alerting alleged perpetrators of investigations.122

      The DOJ-funded report, “A Case Study of K–12 School Employee Sexual Miscon-
      duct: Lessons Learned from Title IX Policy Implementation,” similarly cautions,
      “Further, the proliferation of separate investigations and offender attempts to in-
      timidate victims may require victims to be interviewed multiple times, potentially
      exacerbating their trauma.”123

      Therefore, developing policies that address coordination with other investigative
      agencies is essential. Ms. Hickey remains engaged with CPS, the CPS Inspector
      General, the Chicago Children’s Advocacy Center, and others regarding appropriate
      coordination among agencies and ensuring the presence of a children’s advocate
      at investigative interviews.

      Another change that CPS instituted during the summer of 2018 is the new policy
      to remove teachers from the school immediately after there has been an allega-
      tion of “sexual abuse.” We recommend that CPS further clarify this new policy.
      While this policy is sound, in principle, to the extent it relates to credible allega-
      tions of abuse, we believe that more clarification is required to specify under what
      circumstances CPS will remove an employee pending an investigation.

      For example, the policy could be interpreted, as currently written, to require im-
      mediate removal of a teacher after a coworker reports that the teacher gave candy
      to a student. Giving a student candy could be “inappropriate contact” since it could
      be “grooming” behavior, which constitutes “sexual abuse” under the policy. It is
      critically important that new policies, which are intended to foster a culture of re-
      spect and encourage the reporting of potentially improper conduct, not impose
      such harsh and immediate punishments that have the unintended consequence of
      deterring reporting. CPS should update the policy to make clear what allegations


      122
            U.S. Government Accountability Office, Child Welfare, 32.
      123
            Magnolia Consulting, A Case Study of K–12 School Employee Sexual Misconduct, 6.


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      will result in immediate removal and who will make that determination.124 CPS
      should also consider preventative measures short of removal that could be imple-
      mented pending a complete investigation—such as warnings, no-contact direc-
      tives, and supervision—and include guidelines for how to impose those measures.




      124
            CPS must also update the policy to incorporate the Office of Student Protections and Title IX.


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      VII.       Response

      KEY RECOMMENDATIONS
      → Hold employees, vendors, and volunteers accountable when they violate the
        policies and procedures with discipline that is commensurate with the viola-
        tion.

      → Make the CPS Office of Student Protections and Title IX the nerve center for
        the CPS community to learn about and receive victim support services.

      → Ensure that CPS students have, are aware of, and receive social and emotional
        supports and victim services by using the tracking and accountability mecha-
        nisms described above.

      → Ensure that schools sufficiently emphasize these supports across all regions
        and demographics, as warranted.

      → Use experts, such as the Chicago Children’s Advocacy Center, to train employ-
        ees on how to provide appropriate support for student victims and student
        perpetrators.

      → Develop a district-wide protocol for appropriately communicating sexual-mis-
        conduct incidents and allegations with school communities.



      A.         Title IX & Best Practices

      Title IX requires CPS to remedy any effects of sexual misconduct against students,
      end identified sexual misconduct, and prevent recurrence.125 This responsibility
      includes providing victim services, separating offenders from victims or potential
      victims, and if applicable, providing sufficient discipline, including limiting access
      to children, terminating employment, and removing licenses. CPS should not agree
      to expunge a school’s findings that an adult has engaged in sexual misconduct with
      a child, or agree to keep a finding confidential.126


      125
            See U.S. Department of Education, Revised Sexual Harassment Guidance, 10.
      126
            See also, 20 U.S.C. § 7926 (Prohibition on aiding and abetting sexual abuse) (effective December
            10, 2015) (“A State, State educational agency, or local educational agency in the case of a local
            educational agency that receives Federal funds under this chapter shall have laws, regulations,
            or policies that prohibit any individual who is a school employee, contractor, or agent, or any
            State educational agency or local educational agency, from assisting a school employee, con-
            tractor, or agent in obtaining a new job, apart from the routine transmission of administrative
            and personnel files, if the individual or agency knows, or has probable cause to believe, that
            such school employee, contractor, or agent engaged in sexual misconduct regarding a minor or
            student in violation of the law.”).


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      CPS must enforce its policies and procedures for employee discipline. The punish-
      ments, however, should fit the “crime.” Since many policies and procedures focus
      on preventing opportunities for sexual misconduct—rather than on actual sexual
      contact—policies and procedures will necessarily govern conduct that is not inher-
      ently sexual.127 For these reasons, CPS should consider all relevant circumstances
      (which will be easier to do after CPS logs and analyzes data regarding reports of
      inappropriate conduct). In these instances, CPS should also log the reasons why
      employees did or did not receive discipline.

      Regarding other violations, CPS policy should provide for a range of sanctions, in-
      cluding oral and written warnings, suspension, loss of pay, or probation. CPS may
      also require corrective actions, such as directing the person to attend training pro-
      grams or transferring the person to positions that do not involve regular or unsu-
      pervised contact with children. A school official should meet with the person and
      discuss the corrective action.

      Factors to consider in deciding the appropriate level of discipline based on the of-
      fense include the harm or potential harm to children, educators, and the school
      community; the overall record of the responsible educator; and any corrective
      steps taken to remedy the misconduct.128

      B.         CPS’ Response to Sexual Misconduct by Adults

      Since late 2011, CPS’ Law Department has investigated over 450 allegations of
      adult sexual misconduct against students. The Law Department concluded that
      sexual misconduct occurred in nearly half of those investigations. Of those cases,
      CPS terminated the employment of most of the adults—or, if the adult was a vol-
      unteer, removed the person. A minority of employees received lesser discipline,
      and an even fewer number of employees received no discipline.

      We do not know if these were the right results in all cases. We do know, however,
      that many—if not most—CPS schools did not know or enforce all relevant policies
      and procedures, some predators went undetected or unpunished throughout this
      time, and some serious offenders were able to get jobs in other school districts.

      Throughout this report we have repeatedly emphasized that CPS must ensure ac-
      countability by enforcing its policies and procedures consistently. We will not re-
      peat these recommendations here. We must, however, reiterate the importance
      of our recommendations in Sections II (Prevention) and VI (Investigations) regard-
      ing updating reference-check policies and memoranda of understanding with



      127
            An adult giving a child a ride home, for example, is not sexual, but without policies and proce-
            dures that govern this activity, a predator could have extensive opportunities to harm children.
      128
            See EduRisk, Educator Sexual Misconduct, 33.


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      other districts to prevent predators from accessing students inside and outside of
      CPS.

      C.     Victim Services for CPS Students

      CPS has various resources for student victims, including CPS school-based employ-
      ees, Central Office support, and government and private partners. Most adminis-
      trators believe that, while these resources are available for all schools, schools use
      them and promote them to differing degrees. As referenced throughout this re-
      port, many administrators did not believe that they were adequately trained to
      handle allegations of sexual misconduct.

      As a result, many administrators did not emphasize victim services in any uniform
      manner. According to CPS records, for example, CPS provided support services to
      most victims when an investigation was initiated within the last three school years.
      This number, however, was not 100%.

      Nonetheless, most schools have some access to CPS clinical-support employees,
      including social workers, case managers, occupational therapists, psychologists,
      and clinician trained guidance counselors. In addition to providing one-on-one
      support, some counselors also use “Needs Based Assessments” to identify the
      types of issues that their student body faces, then work to resolve those issues.
      Most notably for this preliminary report, one school identified the need for addi-
      tional training regarding sexual misconduct after a Needs Based Assessment dis-
      covered that there were multiple students who had been victimized by sexual mis-
      conduct in the community, outside of the school setting. That school took the ini-
      tiative to create partnerships to increase annual training for employees and stu-
      dents.

      Unfortunately, most administrators reported that they did not have enough clini-
      cal-support employees. Recently, however, CPS added 100 new social workers
      throughout CPS. While some administrators still believe that CPS needs to do
      more, most agreed that this was a major step in the right direction. While most
      administrators praised their clinical-support employees as trusted and experi-
      enced professionals, some administrators said that the quality of clinical-support
      employees varies dramatically and complained that turnover is high.

      If students or employees do not feel comfortable with their school’s clinical-sup-
      port employees, CPS Central Office also offers students district-wide support struc-
      tures through the Safety and Security Department’s Crisis Management Unit,
      which students can reach through the Crisis Hotline. As described above, students,
      parents, and guardians can also contact the Illinois Department of Healthcare and
      Family Services by contacting the Crisis and Referral Entry Service (CARES). Stu-
      dents, parents, and guardians can then receive mental health services through the
      Screening, Assessment, and Support Services (SASS) program.


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      Likewise, the Chicago Board of Education has approved many private vendors to
      provide student support. We know that schools have used Rape Victim Advocates,
      Chicago Children’s Advocacy Center, Between Friends, and Peer Health Exchange,
      among others, for training and support for issues involving sexual conduct and
      misconduct. Schools use these vendors, however, to varying extents depending
      on, among other things, cost and time. Most administrators said that they do not
      use any vendors specifically for student support regarding sexual conduct and mis-
      conduct.

      CPS is currently working with the Chicago Children’s Advocacy Center to, among
      other things:

      ► Provide student support and therapy;

      ► Provide post-incident debriefings and support;

      ► Train CPS clinical employees—including social workers, counselors, psycholo-
        gists, and nurses—CPS’ Crisis Response Team, and the OSP, including on how
        to work with survivors of sexual misconduct; and

      ► Develop a Keeping Children Safe interactive webinar with instructional videos
        and test questions.

      According to administrators, however, students may prefer to confide in other
      members of the CPS community, such as teachers, administrators, on-site clini-
      cians, coaches, or security employees, rather than outsiders. As described in Sec-
      tion III. B., above, a student may not trust their counselor, but may trust a teacher
      or other employee. This practice encourages meaningful relationships that many
      students need to receive their education and develop into well-balanced adults. In
      fact, CPS often encourages these relationships by design. CPS Central Office, for
      example, allocates millions of dollars toward Social and Emotional Learning pro-
      grams for students and employees.

      A major difference between schools and their students’ access to or knowledge of
      support services is the school’s culture. This in turn often correlates with how
      much time a school has allocated or can allocate to student support. Schools that
      have developed a supportive culture have healthy communication and feedback
      and, likely as a direct result, more student support structures and partnerships.
      Several administrators reported that the need to balance Social and Emotional
      Learning efforts with educating students in English, Math, and Sciences can be
      challenging.

      CPS recently took a major step forward by emphasizing victim services to admin-
      istrators by including victim services in the required notification process in re-



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      sponse to allegations of sexual misconduct. CPS must continue to ensure that ad-
      ministrators are aware of and follow this step. Furthermore, we recommend that
      CPS also emphasize supports for student perpetrators to address the causes of
      their behavior and to rehabilitate them.

      Moreover, CPS’ emphasis on Social and Emotional Learning has proven to be ef-
      fective where it is used. CPS’ Central Office should take steps to ensure that Social
      and Emotional Learning is especially emphasized in areas where it is needed the
      most. As with other recommendations, this recommendation may require allocat-
      ing additional resources toward these schools.




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      Conclusion

      We note throughout this report that it is preliminary and not the final report. We
      have focused our efforts thus far on evaluating big-picture issues so that we could
      propose recommendations that would have the greatest impact and create the
      largest return on investment before the 2018/2019 school year begins. To fulfill
      this goal, we spoke extensively with senior CPS leadership, network chiefs, princi-
      pals, and department heads, and analyzed the specific policies and practices de-
      tailed in the body of this preliminary report.

      There is more work to be done. To complete our evaluation, Ms. Hickey intends to
      conduct more interviews and analysis regarding particular constituencies within
      CPS and to coordinate further with entities outside of CPS. These additional inter-
      views will likely include CPS teachers, Athletics Directors, and representatives from
      the Illinois Department of Children and Family Services, the Chicago Police Depart-
      ment, the Cook County State’s Attorney’s Office, the Illinois Police Department,
      the Illinois State Board of Education, the CPS Inspector General’s office, and vari-
      ous CPS partners, such as the Chicago Children’s Advocacy Center. Likewise, we
      intend to continue to work with CPS to analyze, review, and ultimately recommend
      a district-wide protocol for how administrators should communicate incidents and
      allegations of sexual misconduct with school communities.

      Ms. Hickey will also continue to work with the CPS Inspector General and the CPS
      Office of Student Protections and Title IX (OSP) leadership to meet their goals, in-
      cluding ensuring that they are sufficiently staffed and trained to conduct investi-
      gations and that they effectively collect and analyze data.

      We also intend to evaluate other areas further, including security guards, athletic
      directors, leasing arrangements, special-education student populations, and the
      new Aspen software system. We are also evaluating whether CPS should conduct
      an employee survey at the end of the next school year to evaluate whether the
      implementation of the policies and procedures regarding sexual misconduct has
      been successful.

      Furthermore, we know that CPS remains in the process of changing many policies,
      procedures, and practices relating to the subject matter of this preliminary report.
      Ms. Hickey shall continue to advise CPS on an ongoing basis regarding those
      changes rather than awaiting issuance of a final report because students’ safety is
      at stake. Our final analysis of these changes must wait until they are implemented.
      Finally, we fully anticipate that our final recommendations may change based on
      anticipated constructive feedback from CPS and other stakeholders received in re-
      sponse to this Preliminary Report.




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      During this evaluation, CPS CEO Janice Jackson reiterated that student safety is her
      first priority, that CPS needs to improve, and that CPS will improve. She acknowl-
      edged that her “team has taken away an important lesson from the reporting on
      these issues: CPS’ response to sexual misconduct cases has not been sufficiently
      centered on protecting student-victims.” She further committed her administra-
      tion to ensuring that they “take student allegation seriously,” that victims are “pro-
      tected and on a path to recovery,” and that CPS works to “recognize patterns” to
      “take effective measures to prevent incidents in the future.”

      We appreciate the cooperation and support we have received from CPS leader-
      ship, employees, and others. We believe CPS is taking reasonable measures to cor-
      rect the wrongs of the past and to establish policies, procedures, and practices, as
      well as instill a culture, to prevent and remediate future misconduct. We have al-
      ready seen substantial improvements within CPS this summer, including increased
      attention and increased funding focused on preventing sexual misconduct. Alt-
      hough difficult steps lie ahead and CPS’ commitment will be tested as it continues
      to implement difficult policies and costly change, we are optimistic that this posi-
      tive momentum will continue.

      Improvements are most likely to continue if CPS creates controls, failsafes, and
      supportive cultures at all levels—from each individual school to the network of-
      fices, the Central Office, and the Chicago Board of Education—to ensure that CPS
      students are protected from sexual misconduct and that this important issue never
      again goes unchecked. Subject to any further changes in the scope of the mandate
      and unanticipated developments, Ms. Hickey intends to issue the final report in
      spring 2019.




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